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                        Exhibit K
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------X

 PATRICK SAGET, ET AL.,
                                                                Docket No. CV-18-1599
                           Plaintiffs,
                                                                (Kuntz, J.)
                                                                (Tiscione, M.J.)
                  v.

 JOSEPH R. BIDEN, ET AL.,

                           Defendants.

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                                DECLARATION OF IRA J. KURZBAN

 I, Ira J. Kurzban, declare as follows:

         1.      I am a founder of the law firm Kurzban Kurzban Tetzeli & Pratt P.A. and I serve
 as chair of the firm’s immigration department. I submit this declaration in support of a motion
 for attorney’s fees and recoverable expenses under the Equal Access to Justice Act, 28 U.S.C. §
 2412 et seq. in the above-captioned litigation.

        2.      I am a 1971 graduate of Syracuse University, Magna Cum Laude and Phi Beta
 Kappa with honors in Political Science. In 1973, I obtained a master’s degree from the
 University of California at Berkeley in the Political Science Department and pursued a joint
 Ph.D.–J.D. program in law and political theory. During that time, I was the recipient of a Kent
 Fellowship given by the Danforth Foundation and a Law and Society Fellowship given by the
 University of California. In 1976, I graduated from the University of California, Berkeley School
 of Law. In 1987, I was awarded an Honorary Fellow Degree by the faculty of the University of
 Pennsylvania Law School.

         3.      I am the author of the bestselling one-volume treatise on immigration law,
 Kurzban’s Immigration Law Sourcebook, which is in its Seventeenth Edition (2020) and is
 regularly cited for its persuasive authority by federal courts. See De La Paz v. Coy, 786 F.3d 367,
 376 (5th Cir. 2015); Gonzalez v. Holder, 771 F.3d 238, 243 (5th Cir. 2014); Viveiros v. Holder,
 692 F.3d 1, 3 (1st Cir. 2012); United States v. Juarez, 672 F.3d 381, 389 (5th Cir. 2012);
 Gonzalez v. Reno, 212 F.3d 1338, 1355 (11th Cir. 2000); Patel v. Ashcroft, 378 F.3d 610, 612
 (7th Cir. 2004); Socop-Gonzalez v. INS, 208 F.3d 838, 842 n.3 (9th Cir. 2000). I have also
 published articles in immigration books and law reviews which, along with the Sourcebook, are
 commonly cited by immigration-law practitioners.



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         4.      I have lectured extensively on immigration matters. I have been a lecturer at the
 Second Circuit Judicial Conference (115 F.R.D. 438), at every National Convention of the
 American Immigration Lawyers Association since 1981, at every Florida Bar Annual
 Immigration Seminar, and at the American Bar Association’s Annual Convention. For many
 years, I lectured at the national conference for clerks of the state and federal courts, sponsored by
 the ABA. I have also participated in the Baron de Hirsch Meyer Lectures at the University of
 Miami and the Lowenstein International Human Rights Project at Yale Law School and have
 lectured at the Harvard Law School. I am also an adjunct professor in immigration and
 nationality law at the University of Miami School of Law, where I have taught since 1982.

         5.       I have been actively involved in the immigration bar as a practicing attorney. I am
 a past president of the South Florida Chapter of the American Immigration Lawyers Association.
 I was also the national president of the American Immigration Lawyers Association in 1987–88
 and I thereafter served as its General Counsel. The American Immigration Lawyers Association
 is an affiliate organization of the American Bar Association and is the only national organization
 of immigration lawyers in the United States.

          6.   I am certified by the Florida Bar as a specialist in immigration law and served on
 the first committee to devise and grade the certification exam for Florida lawyers. In 2011, I was
 named a Fellow of the American Bar Association.

         7.       I have been recognized nationally for my skill as an immigration lawyer and
 litigator. I received the American Lawyer’s Ammy Award for pro bono litigation on behalf of
 refugees. I was the first recipient of the Tobias Simon Pro Bono Award presented by the Chief
 Justice of the Florida Supreme Court for my work on behalf of refugees. I was also the recipient
 of the Lawyers of the Americas Award for my work on behalf of human rights in this
 hemisphere given by the University of Miami, the Jack Wasserman Award for excellence in
 federal litigation and the Edith Lowenstein Memorial Award for excellence in the advancement
 of immigration law given by the American Immigration Lawyers Association, the Phillip Burton
 Immigration & Civil Rights Award given by the Immigrant Legal Resource Center, and the
 Carol King Award by the National Lawyers Guild. In 1986 I was selected by Newsweek
 Magazine in their commemorative issue on the hundredth anniversary of the Statue of Liberty as
 one of 100 American heroes for my work on behalf of immigrants. I have been named by the
 National Law Journal as one of the top twenty immigration lawyers in the United States and by
 the British publication Chambers as a first-tier immigration lawyer in the United States. I was
 also the recipient of the Leonard J. Theberge Award for Private International Law given by the
 American Bar Association.

         8.      Since 1977, I have litigated a variety of labor, civil rights and immigration cases
 against the federal government, including three in the Supreme Court of the United States:
 McNary v. Haitian Refugee Ctr., Inc., 498 U.S. 479 (1991) (due process challenge to INS
 procedures involving 50,000 farm workers); Comm’r, INS v. Jean, 496 U.S. 154 (1990)
 (established standard for attorneys’ fees on fees litigation under EAJA); and Jean v. Nelson, 472
 U.S. 846 (1985) (equal protection challenge to INS detention of Haitian nationals).




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         9.      In over 40 years of practice, I have litigated well over 100 immigration cases in
 the federal courts. Some recent representative cases include: Canal A Media Holding, LLC v.
 USCIS, 964 F.3d 1250 (11th Cir. 2020) (overcoming dismissal on jurisdictional grounds for APA
 challenge to visa petition denial); Path Am. KingCo LLC v. DHS, 426 F. Supp. 3d 770 (W.D.
 Wash. 2019) (APA action overturning regional center termination in EB-5 Immigrant Investor
 Program); and Fang v. Dir. U.S. ICE, 935 F.3d 172 (3d Cir. 2019) (overcoming dismissal on
 jurisdictional grounds of APA challenge to termination of F-1 student status on behalf of putative
 class). Many of the cases I have litigated are certified class actions or putative class actions.

         10.     Other notable cases in which I have served as counsel include: Zhang v. USCIS,
 978 F.3d 1314 (D.C. Cir. 2020) (affirming award of injunctive relief to class of EB-5 investors
 unlawfully denied immigrant visa petitions); Chang v. United States, 327 F.3d 911 (9th Cir.
 2003) (successful challenge by a class of immigrant investors to the retroactive application by
 legacy INS to rules adversely affecting the EB-5 program); Haitian Refugee Ctr. v. Baker, 953
 F.2d 498 (11th Cir.) cert. denied, 112 S. Ct. 1245 (1992); Haitian Refugee Ctr. v. Nelson, 872
 F.2d 1555 (11th Cir. 1989) (reversed the denial of 22,000 applications for amnesty status for
 farm workers); ABC Charters Inc. v. Bronson, 591 F. Supp. 2d 1272 (S.D. Fla. 2008) (struck
 down on preemption grounds Florida state statutes that would bar or regulate flights to Cuba);
 Tefel v. Reno, 972 F. Supp. 608 (S.D. Fla. 1998), rev’d 180 F.3d 1286 (11th Cir. 1999) (class
 action involving 40,000 Nicaraguans denied suspension of deportation); Michel v. Milhollan,
 Case No. 89-1040-Civ-Nesbitt (S.D. Fla. 1989) (enjoined unlawful change-of-venue
 proceedings); Velasquez v. Nelson, Case No. 86-1262-Civ-Ryskamp (S.D. Fla. 1986) (same);
 Augustin v. Harrison, Case No. 86-0882-Civ-Marcus (S.D. Fla. 1986) (enjoined implementation
 of SAVE program); Haitian Refugee Ctr. v. Smith, 676 F.2d 1023 (5th Cir. 1982) (established a
 constitutional right to apply for asylum).

         11.    I have been recognized by the United States District Court of the Southern
 District of Florida for my professional competence and skill as an attorney. See, e.g., Tefel v.
 Reno, 972 F. Supp. 608, 617-18 (S.D. Fla. 1998) Haitian Refugee Ctr. v. Smith, 644 F.Supp. 382,
 389 (S.D. Fla. 1984) aff’d, 791 F.2d 1489 (11th Cir. 1986) (Order Granting Motion for Fees,
 Costs and Expenses); Louis v. Nelson, 646 F. Supp. 1300, 1309-10 (S.D. Fla. 1986), aff’d in
 part, vacated and remanded, 863 F.2d 759 (11th Cir. 1989) (Order Awarding Fees); and
 Hispania InterAmericana, et al. v. City of Miami, Case No. 84-1436-Civ-Davis (S.D. Fla. 1984)
 (Order Awarding Attorney’s Fees and Costs).

         12.    I was assisted in this litigation by several other attorneys in the Firm, including
 partners Kevin Gregg, Helena Tetzeli, and Edward Ramos, and associates Ian Shaw, Celso
 Perez, and Ian Campbell. Each has substantial experience and expertise in immigration litigation,
 and in challenges to agency action under the Administrative Procedure Act and the U.S.
 Constitution.

         13.    Mr. Gregg practices in all areas of immigration law, including removal defense
 and federal court litigation, and has litigated a number of such actions throughout the United
 States. Mr. Gregg is a graduate of Boston University School of Law. Prior to joining the Firm, he
 clerked for the Honorable Beth F. Bloom in the U.S. District Court for the Southern District of
 Florida. Before that, he served for two years as a Judicial Law Clerk and Attorney Advisor in the

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 San Diego Immigration Court, Executive Office for Immigration Review (EOIR), through the
 Attorney General’s Honors Program. Mr. Gregg hosts the weekly podcast Immigration Review
 (https://www.kktplaw.com/immigration-review-podcast/), where each week, he summarizes and
 discusses every published circuit immigration decision.

         14.    Ms. Tetzeli has a nationwide reputation as a leading immigration attorney. She is
 frequently asked to write and speak on immigration law topics, including on all types of business
 and humanitarian visas, as well as federal and administrative court litigation. Her immigration
 clients include unions for major league professional athletes, high profile US and foreign
 companies, individual investors and others seeking to do business or immigrate here, as well as
 US start-ups in a variety of business and industrial sectors. In addition to her immigration law
 practice, Ms. Tetzeli also represents clients in federal and state courts and in arbitration and
 mediation proceedings in a variety of complex commercial matters including substantial
 collection cases and defense of discrimination, FLSA, ADA and other employment law claims.
 Ms. Tetzeli has been recognized by a litany of professional entities, and received the highest
 possible AV Preeminent peer review rating by Martindale-Hubbell. She is a graduate of
 University of California, Hastings College of the Law.

         15.     Mr. Ramos obtained his J.D. from Yale Law School in 2012. Since joining the
 firm in 2012, Mr. Ramos has spent the majority of his time litigating complex immigration cases
 in the federal courts. Mr. Ramos, for example, successfully argued Canal A Media Holding, LLC
 v. USCIS, 964 F.3d 1250 (11th Cir. 2020), an important decision limiting the reach of the APA’s
 finality requirement, as well as two jurisdictional provisions of the Immigration and Nationality
 Act.

          16.    Associates Celso Perez and Ian Campbell also assisted in the litigation of a
 number of complex immigration cases during their time with the Firm, including Canal A Media
 Holding, LLC v. USCIS, No. CV 17-cv-6491, 2018 WL 7297829 (C.D. Cal. Sept. 30, 2018);
 Wang v. USCIS, 375 F. Supp. 3d 22 (D.D.C. 2019); and Khan v. USCIS, No. 15-cv-23406, 2019
 WL 1323688 (S.D. Fla. Mar. 25, 2019), aff’d, 781 F. App’x 977 (11th Cir. 2019). Through
 litigation of these and other cases, Mr. Perez and Mr. Campbell acquired expertise in complex
 immigration-related litigation, which they deployed to the benefit of the Plaintiffs in this action.

        17.      My usual hourly rate is $750 per hour. During the course of this litigation, the
 hourly rates of the other attorneys who worked on this case ranged from $300 to $575.

         18.     Attached to this motion are the fees and expenses incurred by my firm in
 connection with this litigation for which we seek recovery under EAJA. It is our firm’s practice
 that attorneys and other staff carefully document the legal work they perform on a daily basis by
 maintaining thorough time records that detail the time spent broken down by date and activity.

        19.     In preparing this EAJA motion, I exercised billing judgment for the entries and
 hours for which Plaintiffs seek recovery, and have eliminated numerous billing entries. Although
 these entries and hours are compensable under EAJA, I have chosen to remove them from this
 EAJA request in an exercise of billing discretion.



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        20.    In my professional opinion, the time spent by me and my firm in preparation for
 and execution of this litigation was reasonable and necessary given the complexity of the case
 and the Government’s decision to appeal the matter to the circuit court.


 I declare under penalty of perjury that the foregoing is true and correct.

 Executed this 26 day of October, 2021.
                                                       __________________________
                                                       Ira J. Kurzban




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    Date          Attorney    Billing Rate   Hours Spent   Total                  Description of Work
11/01/2017   Edward Ramos              395           2.8       1106 INITIAL CALL WITH TEAM TO DISCUSS LAWSUIT
                                                                     AND POTENTIAL CLAIMS; REVIEW OF DOCUMENTS
11/01/2017   Ian Shaw                  350           3.1       1085 RESEARCH RE APA
11/01/2017   Ira Kurzban               750           1.5       1125 INITIAL CALL & DISCUSSION OF CLAIMS
11/05/2017   Ian Campbell              300          0.65        195 REVIEWING DOCUMENTS IN K DRIVE RE TPS
                                                                     REVOCATION
11/06/2017   Kevin Gregg               375           0.3       112.5 REVIEW DOCUMENTS FOR MEETING RE FED LIT
11/06/2017   Celso Perez               350           1.5        525 REVIEW OF DOCUMENTS ON K DRIVE AND JEAN V
                                                                     NELSON RESEARCH.
11/06/2017   Ian Campbell              300          0.75        225 REVIEW OF AL MEMO; REVIEW OF NEWS ARTICLES
                                                                     RE DOS STATEMENTS IN ENDING OF TPS
11/06/2017   Edward Ramos              395             3       1185 REVIEW OF DOCUMENTS & MEMOS; EMAIL TO
                                                                     GROUP WITH INITIAL ANALYSIS OF JUDICIAL
                                                                     REVIEW ISSUE AND CASE STRATEGY
11/07/2017   Kevin Gregg               375           1.7       637.5 PREP FOR AND ATTEND MEETING RE LITIGATION
11/07/2017   Celso Perez               350             2        700 CALL PRELIMINARY RESEARCH AND DOCUMENT
                                                                     REVIEW
11/07/2017   Ian Campbell              300           1.4        420 CALL RE TPS LITIGATION; E-MAIL SUMMARY OF
                                                                     CALL TO PARTICIPANTS
11/07/2017   Ian Shaw                  350           0.9        315 CONFERENCE CALL
11/08/2017   Edward Ramos              395             1        395 CALL TO DISCUSS LITIGATION
11/08/2017   Ian Shaw                  350           4.6       1610 RESEARCH JURISDICTION
11/08/2017   Ira Kurzban               750             1        750 CALL REGARDING LITIGATION CLAIMS & STRATEGY
11/09/2017   Kevin Gregg               375           0.8        300 BEGIN ORGANIZATIONAL STANDING ANALYSIS
11/09/2017   Edward Ramos              395           2.8       1106 RESEARCH ON EXTENSIONS OF MCNARY IN
                                                                     FEDERAL COURTS OF APPEALS
11/09/2017   Ian Shaw                  350           2.3        805 RESEARCH RE JURISDICTION
11/12/2017   Kevin Gregg               375           1.8        675 CONT ORGANIZATIONAL STANDING ANALYSIS
11/13/2017   Ian Campbell              300          2.35        705 REVIEW OF REGULATORY FLEXIBILITY ACT CASES
                                                                     AND REQUIREMENTS; SUBMITTING DOS FOIA;
                                                                     STARTING NEW E-MAIL THREAD
11/13/2017   Ian Shaw                  350           0.6        210 READ DACA DECISION
                                                                     ORGANIZATIONAL STANDING STRAT DISCUSSION WITH
11/14/2017   Kevin Gregg               375           0.2          75 IK
11/14/2017   Ian Campbell              300          2.25        675 RESEARCHING AND WRITING BRIEF MEMO ON
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                                                                   REGULATORY FLEXIBILITY ACT; REVIEWING E-MAILS
                                                                   FROM E-MAIL THREAD; DISCUSSING COMPLAINT
                                                                   WITH IJK
11/14/2017   Ian Shaw                350         1.8        630    RESEARCH RE JURISDICTION
11/14/2017   Ira Kurzban             750         0.4        300    DISCUSSION WITH KG & ER RE STANDING &
                                                                   OTHER ISSUES
11/15/2017   Ian Campbell            300        1.25        375    RESEARCHING STANDARDS FOR PRELIMINARY
                                                                   INJUNCTION AND BEST VENUE FOR REQUESTING
11/15/2017   Edward Ramos            395          6        2370    RESEARCH ON D.C. CIRCUIT AND NINTH CIRCUIT
                                                                   DECISIONS ON JUDICIAL REVIEW; COMPILING
                                                                   SUMMARY OF CASES AND ANALYSIS
11/15/2017   Ian Shaw                350         3.5       1225    RESEARCH RE JURISDICTION
11/16/2017   Kevin Gregg             375         2.6        975    DRAFT ORG STANDING ANALYSIS; 1ST DRAFT
                                                                   RESPONSE TO MTD
11/16/2017   Edward Ramos            395         1.5       592.5   COMPLETED JURISDICTIONAL RESEARCH AND
                                                                   CIRCULATED TO GROUP
11/17/2017   Kevin Gregg             375         2.2        825    COMPLETE DRAFT RESPONSE EDITS TO MTD
11/17/2017   Ian Shaw                350         8.5       2975    DRAFT LETTER TO DHS/MEMO RE JURISDICTION
11/19/2017   Celso Perez             350           8       2800    DRAFTING TPS FACTS SECTION AND RESEARCH ON
                                                                   JURISDICTION.
11/19/2017   Ian Campbell            300          5        1500    DRAFTING COMPLAINT AND MOTION FOR PIJ AND
                                                                   TRO; EDITING FACT SECTION SENT BY CJP
                                                                   PREP FOR AND ATTEND TPS ATTY MEETING;
11/20/2017   Kevin Gregg             375         1.2        450    STRATEGY WITH
                                                                   IK RE FILING
11/20/2017   Celso Perez             350          1         350    CONFERENCE CALL.
11/20/2017   Ian Campbell            300          7        2100    COMPLETED DRAFT OF COMPLAINT AND MOTION
                                                                   FOR PIJ AND TRO; RESEARCH INTO CONDITIONS IN
                                                                   HAITI, ECONOMIC CONTRIBUTIONS OF HAITIAN
                                                                   TPS HOLDERS; RESEARCH INTO NOTICE AND
                                                                   COMMENT CLAIM, JURISDICTION TO SUE CERTAIN
                                                                   DEFENDANTS; PARTICIPATED IN CALL RE
                                                                   COMPLAINT AND OTHER ISSUES WITH OTHER
                                                                   ATTORNEYS
11/20/2017   Ian Shaw                350         0.6        210    CONFERENCE CALL
11/20/2017   Ira Kurzban             750         6.9       5175    REVIEWED DRAFTS OF MEMOS FOR COMPLAINT &
                                                                   PI MOTION ISSUES; REVIEWED CASES; MADE
                                                                   SUGGESTIONS; CONFERENCE CALLS
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11/21/2017   Kevin Gregg             375         0.5       187.5 EMAIL TO NICOLE RE PLAINTIFF AFFIDAVITS
11/21/2017   Ian Campbell            300         1.8        540 RESEARCHING PAPERWORK REDUCTION ACT
                                                                 CLAIMS PER CALL FROM PREVIOUS DAY;
                                                                 REVIEWING ANNOUNCEMENT RE TPS AND
                                                                 RELATED E-MAILS
                                                                 RESPOND TO EMAIL TO NICOLE RE PLAINTIFF
11/22/2017   Kevin Gregg             375         0.2          75 AFFIDAVITS
                                                                 AND ORG STANDING IN CIRCUITS
11/27/2017   Ian Campbell            300         0.5        150 E-MAILING UPDATE TO EFR TO ENABLE TO WORK
                                                                 ON COMPLAINT
11/28/2017   Edward Ramos            395         3.5      1382.5 RESEARCH ON CAUSES OF ACTION FOR
                                                                 COMPLAINT; WORK ON EDITS TO COMPLAINT
11/28/2017   Ira Kurzban             750          5        3750 REVIEWED ANOTHER DRAFT & DRAFT OF
                                                                 WORKING PAPERS ON PI & MADE SUGGESTED
                                                                 CHANGES
12/12/2017   Kevin Gregg             375         0.2          75 RESPOND TO STANDING AFFIDAVIT EMAIL

12/12/2017   Ira Kurzban             750         3.4       2550 RESEARCHED ISSUES AND PROVIDED CASE LAW TO
                                                                 TEAM
12/14/2017   Kevin Gregg             375         0.6        225 REVIEW APA FED REG PUB. REQUIREMENTS AND
                                                                 DHS ANNOUNCEMENTS
                                                                 REVIEW OF WILMER HALE MEMO RE TPS LEGAL
12/18/2017   Kevin Gregg             375         0.3       112.5 CLAIMS
12/20/2017   Kevin Gregg             375         0.2          75 BEGIN REVIEW OF CASE LAW SENT BY IK
12/21/2017   Ian Campbell            300        1.75        525 REVIEW OF WILMERHALE MEMO; RESEARCH INTO
                                                                 NOTICE AND COMMENT REQUIREMENTS; E-MAIL
                                                                 TO GROUP RE DIFFERENCES BETWEEN OUR
                                                                 RESEARCH AND WILMERHALE'S RESEARCH
                                                                 READ AND NOTE OF DACA DECISION AND ARGS FOR
12/22/2017   Kevin Gregg             375         0.7       262.5 INCORPORATION INTO TPS LAWSUIT
12/26/2017   Edward Ramos            395         3.5      1382.5 REVIEW OF CASE FILES FROM U.S. DISTRICT COURT
                                                                 IN NY RE DACA CASE ON GOV'T JURISDICTIONAL
                                                                 ARGUMENTS
12/26/2017   Ian Campbell            300        0.25          75 RESEARCHING NEWS STORY RE TRUMP'S
                                                                 COMMENTS
01/03/2018   Kevin Gregg             375         0.1        37.5 FOLLOW UP EMAIL TO POTENTIAL PLAINTIIFF
01/03/2018   Ira Kurzban             750         2.4       1800 CALLS TO TEAM AND SENT EMAILS
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                                                                RESPOND TO FOLLOW UP EMAIL TO POTENTIAL
01/04/2018   Kevin Gregg            375         0.1        37.5 PLAINITFF;
                                                                SCHEDULE DATE FOR CALL TO PLAINTIFF
01/09/2018   Kevin Gregg            375         0.9       337.5 EMAILS WITH SF RE NAMED PLAINTIFFS; PHONE
                                                                CALL WITH BC RE STANDING OF IJDA; EMAIL TO
                                                                PROSPECTIVE PLAINTIFF
01/11/2018   Kevin Gregg            375         1.4        525 EMAIL JEAN RE PHONE CALL; EMAIL TO ORGS RE
                                                                STANDING; SPEAK WITH HAITIAN ATTY ORG IN NY
                                                                RE STANDING; EMAIL STANDING REQUIREMENTS
                                                                FOR AFF; FURTHER EMAILS WITH POTENTIAL
                                                                PLAINTIFF ORGS
01/12/2018   Kevin Gregg            375         0.4        150 REVIEW AND RESPOND TO SF RESEARCH EMAIL;
                                                                PHONECALLS AND CONSULATIONS WITH A VARIETY OF
                                                                POTENTIAL PLAINTIFFS



01/16/2018   Kevin Gregg            375         1.8         675 EMAIL TO IK RE STANDING PLAINTIFFS; STANDING
                                                                PHONECALLS AND CONSULATIONS WITH A VARIETY OF
                                                                POTENTIAL PLAINTIFFS
                                                                RESEARCH RE STANDING


01/16/2018   Ian Campbell           300        2.25        675 PHONE CALLS WITH S FORRESTER AND S ZOTA;
                                                                RESEARCH AND E-MAIL TO OTHER ATTORNEYS RE
                                                                RFA AND N/C CLAIMS; DISCUSSION WITH KAG RE
                                                                PLAINTIFFS
01/16/2018   Celso Perez            350           3       1050 RESEARCH AND DRAFTING FACTS SECTION.
01/16/2018   Ira Kurzban            750         4.4       3300 REVIEWED EMAILS; CALLS & EMAILS RE
                                                                COMPLAINT AFTER FURTHER REVIEW; SENT EP
                                                                INFORMATION
01/17/2018   Kevin Gregg            375         0.7       262.5 REVIEW AND RESPOND TO IK EMAILS RE
                                                                COMPLAINT; READ AND TAKE NOTES WITH FED
                                                                REGS; CALL PROSPECTIVE PLAINTIFFS
01/17/2018   Ian Campbell           300         2.4        720 DISCUSSED WORK TO BE DONE COMPLAINT WITH
                                                                CJP; REVIEWED MATERIALS ON EQUAL
                                                                PROTECTION FROM IJK; OUTLINED NEW SECTIONS
                                                                FOR COMPLAINT; REDLINE EDITING OF CURRENT
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                                                                  DRAFT OF COMPLAINT; REVIEWED E-MAILS FROM
                                                                  SF AND OTHERS
01/18/2018   Kevin Gregg            375         1.1       412.5   REVEW SF EMAILS RE HAITI; CALL AND EMAIL
                                                                  PROSPECTIVE PLAINTIFFS
01/18/2018   Ian Campbell           300        7.65        2295   DRAFTING AND EDITING OF TPS COMPLAINT;
                                                                  RESEARCHING NEWS ARTICLES ET AL RELATED TO
                                                                  PRESIDENT'S COMMENTS, DHS SEARCH OF
                                                                  CRIMINAL CONVICTIONS, H-2A AND H-2B VISAS;
                                                                  DISCUSSING WITH IJK; REVIEWING NOTICE OF
                                                                  TERMINATION PUBLISHED BY GOV AND
                                                                  DISCUSSING WITH PARTNERS
01/18/2018   Ira Kurzban            750         3.3        2475   DISCUSSIONS AND RESEARCH RE H-2A/H-2B
                                                                  DISCRIMINATION AND OTHER EP ISSUES
01/19/2018   Kevin Gregg            375         3.2        1200   READ BACKGROUND INFO FOR POTENTIAL

                                                                  PLAINTIFFS; PHONECALLS AND CONSULATIONS WITH A

                                                                  VARIETY OF POTENTIAL PLAINTIFFS REVIEW OF DRAFT
                                                                  COMPLAINT AND EMAIL W COMMENTS; RESEARCH
                                                                  RE H1B FRAUD; MEETING; TALK WITH IK
01/19/2018   Ian Campbell           300          6         1800   COMPLETING DRAFT OF COMPLAINT; REVISING
                                                                  BASED ON EFR AND IJK'S COMMENTS; CREATING
                                                                  EXHIBIT LIST AND COMPILING EXHIBITS;
                                                                  REVIEWING AGENDA SENT BY SZ; CALL RE
                                                                  COMPLAINT
01/19/2018   Celso Perez            350        1.75       612.5   REVIEW COMPLAINT AND CALL WITH IJK, KAG, IAC.
01/19/2018   Edward Ramos           395         3.5      1382.5   REVIEW OF COMPLAINT; SENT COMMENTS;
                                                                  PARTICIPATED IN CONFERENCE CALL
01/19/2018   Ira Kurzban            750         4.3        3225   REVIEW OF COMPLAINT; DISCUSSIONS WITH
                                                                  TEAM, COMMENTS
01/22/2018   Kevin Gregg            375         1.1       412.5   PHONECALLS AND CONSULATIONS WITH A
                                                                  VARIETY OF POTENTIAL PLAINTIFFS; CHOLERA
                                                                  RESEARCH

01/22/2018   Edward Ramos           395          6         2370 REVIEW OF DACA COMPLAINTS AND ORDERS;
                                                                RESEARCH IN HAITI CASE
01/24/2018   Kevin Gregg            375         0.4         150 CALL WITH MS ROSEFORT RE STANDING; EMAILS
                                                                TO OTHER PLAINTIFFS
                 Case 1:18-cv-01599-WFK-ST Document 167-12 Filed 11/15/21 Page 12 of 81 PageID #:
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01/25/2018   Kevin Gregg            375         0.7       262.5 READ NAACP COMPLAINT; EMAIL TEAM; EMAIL
                                                                AND CALL PROSPECTIVE PLAINTIFFS
01/25/2018   Ira Kurzban            750         3.4       2550 REVIEWED NAACP COMPLAINT & OTHER
                                                                COMPLAINTS

01/26/2018   Kevin Gregg            375         0.8        300 EMAIL JEAN, PROSPECTIVE CLIENT; EMAILS WITH SF
01/29/2018   Kevin Gregg            375         0.3       112.5 REVIEW IK EMAILS RE SECOND SUIT; RESPOND TO
                                                                MS LOUIS EMAIL RE PLAINITFF; RESPOND TO AAN
                                                                POTENTIAL P AND CONSULT
01/29/2018   Ira Kurzban            750         1.2        900 CALLS TO MAYER BROWN OVER 2 WEEKS

01/31/2018   Kevin Gregg            375         0.9       337.5 EMAILS WITH SF RE PLAINTIFFS AND OTHERS RE CC
                                                                AND COMPLAINT; SCHEDULE MEETING FOR
                                                                TOMORROW
02/01/2018   Kevin Gregg            375         0.4        150 CALL WITH SF AND WEST COAST P
02/02/2018   Kevin Gregg            375         0.2          75 SF EMAILS RE PLAINTIFFS; EMAILS WITH SEJAL
02/05/2018   Kevin Gregg            375         0.2          75 TALK WITH MR JEAN BAPTISTE
02/06/2018   Kevin Gregg            375         0.6        225 SF EMAILS; CONTACT PROSPECTIVE PLAINTIFFS
                                                                WITH INFO
02/07/2018   Kevin Gregg            375         1.1       412.5 READ AND RESPOND TO MACKLER EMAIL AND
                                                                EMAIL IK; ST MARTIN RESEARCH; CALL AND
                                                                OBTAIN PLAINITFF - GERALD
02/08/2018   Kevin Gregg            375         0.4        150 MICHAUD, SW, AND IK EMAILS; DISCUSSION CP;
                                                                EMAILL SHERRY PP
02/09/2018   Kevin Gregg            375         0.6        225 EMAILS AND CALL TO SHELLY (PP); DISCUSSION
                                                                WITH SC (PP); SF QS
02/13/2018   Kevin Gregg            375         0.6        225 CONTACT MULTIPLE INDIVIDUALS RE PP
02/15/2018   Kevin Gregg            375         0.3       112.5 EMAIL MULLERY PP; VARIOUS PP EMAILS
02/16/2018   Kevin Gregg            375         0.5       187.5 PP EMAILS AND SF EMAILS
02/20/2018   Kevin Gregg            375         0.4        150 RESEARCH DEATH OF I130 PETITIONER; RESPOND
                                                                TO SEJAL EMAILS RE PLAINTIFFS
02/26/2018   Kevin Gregg            375         1.7       637.5 CALL AND WITH SEJAL RE COMPLAINT AND
                                                                PLAINTIFFS; CONF CALL
02/27/2018   Edward Ramos           395          1         395 CALL ON HAITIAN TPS; REVIEW OF UPDATED
                                                                COMPLAINT
03/01/2018   Kevin Gregg            375         2.6        975 CONTACT MULTIPLE PP, CREATE LIST, EMAILS,
                                                                EMAIL PP LIST
03/02/2018   Kevin Gregg            375         0.5       187.5 CALL WITH SF; REVIEW EMAILS AND SPEAK WITH IK
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03/05/2018   Kevin Gregg            375          1         375 MEETING WITH IK AND SEJAL; PLAINTIFF
                                                                OUTREEACH
03/05/2018   Ira Kurzban            750           1        750 MEETING WITH KG & SEJAL RE PLAINTIFFS
03/06/2018   Kevin Gregg            375         0.8        300 SPEAK WITH HAITI LIBERTE; EMAILS RE PP AND TO
                                                                MIRIAM; EMAILS WITH STEVE
03/07/2018   Kevin Gregg            375         1.4        525 EMAIL TO SEJAL; DRAFT FANM STANDING
                                                                STATEMENT; TALK WITH NEW SANCTUARY LEGAL
                                                                ASS.
03/08/2018   Kevin Gregg            375         1.4        525 EMAIL KRISITN AND REVIEW DRAFT COMPLAINT;
                                                                EMAIL RE MIAMI PS; EMAILS TO SEJAL;
                                                                DISCUSSIONS WITH IK; DISCUSSION WITH UNITE
                                                                HERE; ORDER CERTS OF GOOD STANDIG FROM FLA
                                                                AND CA
03/08/2018   Edward Ramos           395         2.5       987.5 COMMENTS ON FINAL COMPLAINT
03/09/2018   Kevin Gregg            375         2.3       862.5 TPS PLAINTIFF CALLS AND ANALYSIS, EMAILS;
                                                                EMAILS RE COMPLAINT; PHONE CALLS WITH SF
                                                                AND PP; DRAFT HAITI LIBERTE STATEMENT
03/09/2018   Edward Ramos           395         0.5       197.5 EMAIL EXCHANGE REGARDING STRATEGY RE
                                                                DISCRIMINATION ALLEGATIONS

03/10/2018   Kevin Gregg            375         2.5       937.5 PP CONSULTATIONS AND CALLS WITH SF AND EMAILS
03/12/2018   Kevin Gregg            375         1.5       562.5 EMAIL UPDATING PLAINTIFFS; TALKS WITH IK, KI,
                                                                AND SF; HAITI LIBERTE STATEMENT
03/12/2018   Edward Ramos           395         2.5       987.5 FINAL REVIEW OF ACLU TPS COMPLAINT
03/14/2018   Kevin Gregg            375         2.2        825 REVIEW DRAFT COMPLAINT; CALL WITH SF; TALK
                                                                WITH IK; PREP SUMMONS AND CIVIL COVER
03/14/2018   Ira Kurzban            750         2.3       1725 FINAL REVIEW OF OUR COMPLAINT & DOCS;
                                                                COMMENTS
03/15/2018   Kevin Gregg            375          1         300 FILE COMPLAINT; MOVE FOR PRO HAC VICE;

03/16/2018   Kevin Gregg            375         2.1       787.5 CALL EDNY FILING; SERVICE OF PROCESS WITH
                                                                MM; PREP COPY MAILING; PREP MOTION TO
                                                                ENTER APPEARANCE AND FILE

03/18/2018   Kevin Gregg            375         0.1        37.5 CHECK SERVICE EDNY AND DC
03/20/2018   Kevin Gregg            375         0.3       112.5 CALL FROM SF; EMAL SEJAL RE PHV; SERVICE
                                                                RECEIPTS
03/21/2018   Kevin Gregg            375         0.1        37.5 SEJAL PHV
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03/26/2018   Kevin Gregg            375         0.2          75 REVIEW RECEIVED SUMMONS AFF AND UPDATE
                                                                CHART
04/24/2018   Kevin Gregg            375         0.1        37.5 EMAIL TO RESEARCH ASS RE TPS CONGRESSIONAL
                                                                RECORDS
05/03/2018   Kevin Gregg            375         0.7       262.5 PRINT FOIA DOCS FOR IK; REVIEW FOIA DOCS AND
                                                                TAKE NOTES
05/03/2018   Ira Kurzban            750           1        750 REVIEWED FOIA DOCS
05/04/2018   Kevin Gregg            375         0.4        150 REVIEW SEJAL EMAIL, PROPOSED AMMENDED
                                                                COMPLAINT, AND EMAILS IN RESPONSE AND
                                                                EMAIL IK; TALK WITH IK
05/07/2018   Kevin Gregg            375         0.1        37.5 REVIEW SEJAL EMAIL AND EMAILS IK RE TIME TO
                                                                CONFERENCE
05/08/2018   Kevin Gregg            375         0.1        37.5 EMAILS SEJAL RE TIME TO CONFERENCE
05/09/2018   Kevin Gregg            375         0.3       112.5 WA POST ART + SEJAL EMAIL; OTHER NEWSPAPER
                                                                ARTICLES AND AMENDED COMPLAINT
05/10/2018   Kevin Gregg            375         2.6        975 CP EMAIL; READ MTD IN MARYLAND CASE AND AC;

                                                                  TAKE NOTES; MEETING; REVIEW SERVICE; EMAIL TO
                                                                  AUSA AND SERVICE; PHONECALL WITH AUSA
05/14/2018   Ira Kurzban            750         7.8        5850   REVISED AMENDED COMPLAINT; SENT
                                                                  COMMENTS; REVIEWED MOTION TO DISMISS;
                                                                  SENT ADDITIONAL COMMENTS TO CO COUNSEL
                                                                  RE AMENDED COMPLAINT; CALL WITH GOV.
                                                                  COUNSEL
05/14/2018   Kevin Gregg            375          1          375   ARRANGE CONF CALL, SPEAK WITH AUSA, PRINT
                                                                  OUT AC; PHONE CALL WITH AUSA
05/15/2018   Kevin Gregg            375         0.1        37.5   READ EMAILS RE SCHEDULING
05/16/2018   Kevin Gregg            375         0.2          75   RESPOND TO AUSA LETTER RE MTD EXTENSION;
                                                                  DOCKET ENTRIES
05/22/2018   Kevin Gregg            375         0.2          75   RESPOND TO SF EMAIL RE MTD; REVIEW ND CA
                                                                  MTD
05/30/2018   Kevin Gregg            375         0.2          75   RESPOND TO SEJAL EMAIL RE AC; SAVE AND
                                                                  REVIEWS EXH
05/31/2018   Kevin Gregg            375         0.8         300   EMAILS WITH SEJAL AND FILE AC WITH EXHS;
                                                                  EMAIL AUSA RE ADDITIONAL SUMMONS
06/01/2018   Kevin Gregg            375         0.2          75   MAIL CONFORMED COPY TO AUSA
06/04/2018   Kevin Gregg            375         0.4         150   SEND HARD COPIES AC TO CHAMBERS
06/14/2018   Kevin Gregg            375         0.6         225   REVIEW CT ORDERS AND EMAIL ATTYS; SCHEDULE
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                                                                CALL
06/15/2018   Kevin Gregg            375         0.4        150 CONF CALL WITH ATTYS
06/20/2018   Kevin Gregg            375         0.3       112.5 EMAILS RE REJECTED TPS FOR PLAINTIFF; READ 3
                                                                PAGE LETTER
06/21/2018   Kevin Gregg            375         0.1        37.5 FINAL EMAILS RE LETTER
06/25/2018   Kevin Gregg            375         0.2          75 READ AND RESPOND TO PLAINTIFF TPS EMAILS
06/27/2018   Kevin Gregg            375         0.1        37.5 READ SUMMARY OF HEARING EMAIL AND
                                                                RESPOND
07/02/2018   Kevin Gregg            375         0.1        37.5 REVIEW TPS DISCO EMAILS
07/03/2018   Ira Kurzban            750         1.5       1125 CONFERENCE CALL WITH DEFENDANTS RE MEET
                                                                AND CONFER FOR DISCOVERY; CONFERENCE CALL
                                                                WITH MB FIRM REGARDING NEXT STEPS ON
                                                                DISCOVERY
07/03/2018   Kevin Gregg            375         1.6        600 PHONECALL WITH AUSA; DISCUSSION WITH GEOFF
                                                                AND IK; PHONE CALL FROM GEOFF; EMAIL TO JI RE
                                                                AMICUS
07/03/2018   Ira Kurzban            750          1         750 CONFERENCE CALL WITH GOVERNMENT AND
                                                                FOLLOW UP WITH CO-COUNSEL
07/05/2018   Kevin Gregg            375         0.5       187.5 CALL WITH MAYER BROWN RE DISCO
07/09/2018   Kevin Gregg            375         0.2          75 READ DISCO LETTERS EMAIL; PHONE CALL FROM
                                                                GEOFF
07/10/2018   Kevin Gregg            375         0.4        150 READ GOV DISCO LETTER; READ AND SAVE JUDGE
                                                                MINUTE ORDER; REVIEW DISCO WITH IK; EMAILS
                                                                WITH GEOFF
07/10/2018   Ira Kurzban            750         2.3       1725 REVIEWED DISCOVERY EMAILS & DISCUSSION
                                                                WITH JCG
07/11/2018   Kevin Gregg            375         0.3       112.5 REVIEW DISCO EMAILS AND MAG LOCAL RULES;
                                                                EMAILS RE FRIDAY MEETING; CALL WITH CASA
                                                                CORNELIA RE AMICUS
07/12/2018   Kevin Gregg            375         0.2          75 REVIEW GEOFF EMAIL AND EMAIL AMICUS FILER; IK
                                                                EMAILS CALL
07/13/2018   Ira Kurzban            750         0.3        225 CALL FOR PREPARATION OF TELEPHONIC HEARING
                                                                BEFORE THE COURT
07/13/2018   Kevin Gregg            375         1.5       562.5 CONF CALL WITH TEAM AND THEN AUSA; CALL
                                                                WITH GEOFF
07/16/2018   Ira Kurzban            750          1         750 DISCUSSIONS WITH KG RE SIGNING DOCUMENTS
                                                                AND NUMEROUS EMAILS CONCERNING JOINT
                                                                DISCOVERY DOCUMENTS
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07/16/2018   Kevin Gregg            375         0.3       112.5 REVIEW DISCO EMAILS RE SIGNING ON TO JOINT
                                                                DISCO; CREATE FOLDERS RE DISCO
07/23/2018   Kevin Gregg            375         0.8        300 EDIT DISCO LETTER; EMAIL TO NED TO DOC FROM
                                                                FOIA AND NOT IN AR
07/24/2018   Kevin Gregg            375         0.3       112.5 READ BRIEFING RE DISCO AND PAGE LIMITS
07/25/2018   Kevin Gregg            375         0.1        37.5 REVIEW TPS REPORTS
07/26/2018   Kevin Gregg            375         0.1        37.5 READ EMAILS RE PRESS FOR PLAINTIFFS
07/31/2018   Ira Kurzban            750         2.1       1575 REVIEWED ORDER FROM BOSTON CASE; MOTION
                                                                FROM CALIFORNIA CASE; DISCUSSED CASE WITH
                                                                SZ;
08/02/2018   Kevin Gregg            375         0.1        37.5 READ DEPO PREP QS FOR RAMOS
08/07/2018   Kevin Gregg            375         0.2          75 INITIAL REVIEW RAMOS DECISION; REVIEW GEOFFS
                                                                EMAILS
08/08/2018   Kevin Gregg            375         0.2          75 DISCUSSION WITH PLAINTIFF MARLEIN BASTIEN
08/10/2018   Kevin Gregg            375         1.4        525 SAVE AND READ MTD AND RAMOS CT ORDER
08/13/2018   Kevin Gregg            375         0.2          75 REVIEW RAMOS ORDER AND DEPO TRANSCRIPT
08/15/2018   Kevin Gregg            375         0.3       112.5 REVIEW CT ORDER; REVIEW SEJAL DEPO EMAILS;
                                                                READ DISCO REPLY
08/16/2018   Kevin Gregg            375         1.2        450 REVIEW AND SAVE REPLY; EMAILS; DISCSSION
                                                                WITH IK PRE HEARING
08/18/2018   Ira Kurzban            750         0.4        300 CONTACTED GP REGARDING ORAL ARGUMENT IN
                                                                LIGHT OF MY FLIGHT CANCELLATION; CONTINUED
                                                                READING DOCS
08/19/2018   Ira Kurzban            750         4.4       3300 REVIEWED ALL ORDERS ON MOTIONS TO DISMISS
                                                                IN PARALLEL CASES; REVIEWED ALL DISCOVERY
                                                                ORDERS IN RAMOS AND IN OUR CASE; SPOKE
                                                                WITH GP REGARDING OUR STRATEGY IN ORAL
                                                                ARGUMENT; SENT EMAIL TO AA REGARDING HOW
                                                                COURT TREATED JEFM AND RELATED QUESTIONS;
08/21/2018   Kevin Gregg            375         0.1        37.5 REVIEW GEOFF EMAIL RE DISCO
08/22/2018   Ira Kurzban            750           1        750 PREPARATION FOR AND CONFERENCE CALL; NEXT
                                                                STEPS ON DISCOVERY, PI AND SJ
08/22/2018   Kevin Gregg            375         0.9       337.5 REV DOCKET FILING; PHONE CONF RE DISCO
08/23/2018   Ira Kurzban            750           2       1500 REVIEWED NUMEROUS EMAILS ON DISCOVERY
                                                                AND OTHER ISSUES; HAD CONFERENCE CALL ON
                                                                CASE
08/23/2018   Kevin Gregg            375         0.2          75 REVIEW PO DOCS AND EMAILS
08/27/2018   Kevin Gregg            375         0.1        37.5 REV AND SAVE DOCKET ACTIVITY AND PO
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08/28/2018   Kevin Gregg            375         0.1        37.5 REV AND SAVE DOCKET
09/12/2018   Ira Kurzban            750         1.3        975 REVIEWED AND MADE COMMENTS ON REPLY
                                                                BRIEF REGARDING GOV. MOTION TO DISMISS;
                                                                REVIEWED ER'S COMMENTS AS WELL
09/13/2018   Edward Ramos           395         4.5      1777.5 REVIEW OF TPS MEMO; MADE COMMENTS AND
                                                                EDITS & SENT TO TEAM
09/14/2018   Ira Kurzban            750         1.2        900 REVIEWED FINAL DRAFT OF REPLY BRIEF AND
                                                                SIGNED OFF ON IT
09/14/2018   Kevin Gregg            375         0.2          75 REVIEW CON SCHOLARS AMICUS AND EMAILS;
                                                                MTD RESPONSE
10/28/2018   Ira Kurzban            750          1         750 REVIEWED EMAILS REGARDING STIPULATION AND
                                                                RESPONDED
10/31/2018   Kevin Gregg            375         0.6        225 PARTICIPATE IN TPS-LITIGATORS STRAT CALL
10/31/2018   Ira Kurzban            750           1        750 CALL RE STRATEGY WITH ALL PARTIES IN ALL
                                                                CASES COORDINATING RESPONSES
11/05/2018   Kevin Gregg            375         0.1        37.5 REVIEW AND SAVE DISCO
11/06/2018   Ira Kurzban            750           2       1500 REVIEWED GOVERNMENT'S STAY REQUEST;
                                                                REVIEWED SOME CASE LAW ON THE ISSUE;
                                                                REVIEWED OUR RESPONSE AND MADE SOME
                                                                SUGGESTED CHANGES.
11/07/2018   Kevin Gregg            375         0.1        37.5 REVIEW RESPONSE IN OPP TO STAY
11/08/2018   Kevin Gregg            375         0.1        37.5 READ FILINGS AND JUDGE ORDER, GP EMAIL;
                                                                RESPOND TO EMAIL
11/09/2018   Kevin Gregg            375         0.1        37.5 REVIEW EMAILS RE STAY DISPUTE
11/13/2018   Ira Kurzban            750         0.7        525 RESPOND TO SF EMAIL RE CONTACTINg P'S; EMAIL
                                                                SEJAL GEOFF RE TRIAL PREP
11/13/2018   Ira Kurzban            750          1         750 SENT SEJAL EMAILS REGARDING CASE; RECEIVED
                                                                CALL AND HAD BRIEF DISCUSSION; RECEIVED AND
                                                                REVIEWED EMAIL; DISCUSSED CASE WITH KG;
                                                                REQUESTED CONFERENCE CALL BE INITIATED;
                                                                REVIEWED GP'S OUTLINE
11/14/2018   Ira Kurzban            750         1.4       1050 REVIEW GP EMAILS AND PRELIM REVIEW HEARING
                                                                TR; PREP FOR CALL; CALL
11/14/2018   Ira Kurzban            750          2        1500 REVIEW OF LETTER; REVIEW OF TRANSCRIPT; CALL
                                                                WITH CO-COUNSEL
11/15/2018   Kevin Gregg            375         0.8        300 REVIEW LETTER TO GOV AND EMAILS; READ
                                                                HEARING TR
11/16/2018   Ira Kurzban            750         3.2       2400 DISCUSSIONS WITH CO-COUNSEL; REVIEWED
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                                                                  EMAILS AND SENT MY COMMENTS TO
                                                                  CO-COUNSEL; BEGAN TO REVIEW SOME OF THE
                                                                  EXISTING DOCUMENTS
11/16/2018   Kevin Gregg            375         0.5       187.5   REVIEW ALL EMAILS RE LETTER, SETTLEMENT
                                                                  OFFER, AND DISCO
11/19/2018   Ira Kurzban            750         1.9        1425   REVIEWED EMAILS TODAY AND YESTERDAY AND
                                                                  COMMENTED ON THE GOVERNMENT'S REQUESTS
                                                                  AND OUR RESPONSE. REVIEWED OUR LETTER TO
                                                                  THE COURT RE DISCOVERY.
11/19/2018   Kevin Gregg            375         0.7       262.5   READ EMAILS AND ORG LIT FOLDER WITH CT;
                                                                  AUSA EMAIL
11/20/2018   Kevin Gregg            375         2.2         825   REVIEW MOTION IN LIMINE BRIEFINGS;
                                                                  DISCUSSION WITH IK AND CALL TO PLAINTIFFS RE
                                                                  SETTLEMENT OFFER; CALL RE GOING FORWARD
11/20/2018   Ira Kurzban            750         4.2        3150   SENT AND RECEIVED VARIOUS EMAILS REGARDING
                                                                  NEXT STEP IN THE CASES; REVIEWED YESTERDAY
                                                                  AND TODAY VARIOUS LETTER MOTIONS AND
                                                                  RESPONSES RE DISCOVERY; CONFERENCE CALL
                                                                  WITH CO-COUNSEL ABOUT HOW TO PROCEED ON
                                                                  OUR AFFIRMATIVE CASE
11/21/2018   Kevin Gregg            375         1.5       562.5   DRAFT NOTICE OF FILING AND PROPOSED
                                                                  SCHEDULING ORDER FOR IK REVIEW
11/26/2018   Kevin Gregg            375         1.7       637.5   REVIEW AND SAVE DISCO AND AFFIRMATIVE CASE
                                                                  EMAILS AND DOCS; PREP FOR CALL RE PLAINTIFFS
                                                                  FOR DISCLOSURES; ORGANIZE PLAINTIFFS MASTER
                                                                  SHEET; DISCO PHONE CALL; PLAINTIFFS
                                                                  DISCLOSURE PHONE CALL
11/26/2018   Ira Kurzban            750         2.4        1800   CONTACTED WITNESSES; REVIEW OF AGREED
                                                                  ORDER; NUMEROUS EMAILS TO AND FROM
                                                                  CO-COUNSEL
11/27/2018   Kevin Gregg            375         0.3       112.5   REVIEW AND SAVE DISCO EMAILS AND START
                                                                  EMAILS
11/28/2018   Ira Kurzban            750         2.2        1650   ANSWERS NUMEROUS EMAILS; REVIEWING
                                                                  DISCLOSURE DOCUMENT AND RESPONDING TO
                                                                  THOSE EMAILS; PROVIDING CLIENT INFORMATION;
                                                                  DISCUSSION STRATEGY REGARDING THE
                                                                  TESTIMONY OF PLAINTIFFS; SOUGHT TO REACH MP
                                                                  WHO IS FORMER DOS PERSONNEL
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11/28/2018   Kevin Gregg            375         0.7       262.5 REVIEW EMAILS RE DISCO; DICO CONVO WITH ;
                                                                CALL WITH IK RE PLAINTIFFS
11/29/2018   Ira Kurzban            750         1.5       1125 REVIEWED RFA, RFP AND INTERROGATORIES;
                                                                MADE COMMENTS ON EACH.
11/29/2018   Kevin Gregg            375         1.1       412.5 REVIEW RFAS ROGS, INITIAL DISCLOSURES, ETC;
                                                                CALL WITH SEJAL RE PLAINTIFFS; CALL TO
                                                                PLAINTIFFS RE THEIR AVAILABILITY TO TESTIFY;
                                                                TALK WITH JEUNE RE TESTIFYING
11/29/2018   Ira Kurzban            750         15       11250 OVER PAST SEVERAL DAYS REVIEWED OUTLINE
                                                                FOR TRIAL; REVIEWED DISCOVERY REQUESTS
                                                                FROM GOVERNMENT AND SPOKE WITH KG, SF, SZ
                                                                REGARDING OUR RESPONSES; REVIEWED AND
                                                                MADE SUGGESTIONS REGARDING OUR RFA,
                                                                INTERROGATORIES AND RFPS
11/30/2018   Kevin Gregg            375         2.6        975 DRAFT EMAIL RE DISCO RESPONSE; REVIEW AND
                                                                SAVE NUMEROUS DISCO EMAILS
12/02/2018   Kevin Gregg            375         6.5      2437.5 CALL TPS PLAINTIFFS AND OBTAIN ROG AND RFP
                                                                ANSWERS
12/03/2018   Kevin Gregg            375         1.5       562.5 REVIEW DISCO EMAILS AND ORGANIZE WEEKEND
                                                                DISCO RESPONSES; RESPOND SF EMAIL; CALL
                                                                FROM SF
12/04/2018   Ira Kurzban            750         2.4       1800 REVIEWED NUMEROUS EXCHANGES BETWEEN GP
                                                                AND GOV. COUNSEL RE DISCOVERY ISSUES;
                                                                PARTICIPATED IN CONFERENCE CALL REGARDING
                                                                AFFIRMATIVE CASE
12/04/2018   Kevin Gregg            375         3.8       1425 REVIEW CLIENT DISCO; CALL AND SPEAK WITH
                                                                FANM RE DISCO; CALL HAITI LIBERTE AMD SPEAK
                                                                WITH KIM RE DISCO; FOLLOW UP CALL WITH KIM;
                                                                PHONE CALL WITH AUSA; AFFIRMATIVE CASE CALL
12/05/2018   Ira Kurzban            750         1.3        975 REVIEWED AND RESPONDED TO MORE EMAILS ON
                                                                DISCOVERY; SPOKE WITH MP AND RESPONDED TO
                                                                EMAILS REGARDING MP AND POSSIBLY TS
12/05/2018   Kevin Gregg            375         0.6        225 REVIEW EMAIL EXCHANGE RE DISCO SCOPE; SAVE
                                                                AND REVIEW P DISCO
12/06/2018   Kevin Gregg            375         7.1      2662.5 REVIEW AND SAVE DISCO FILINGS; PREP FIRST
                                                                DRAFT RFP AND ROG RESPONSE AND PACKETS;
                                                                EMAILS WITH SF; CALLS WITH KIM IVES RE
                                                                EMPLOYEE
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12/07/2018   Kevin Gregg            375         4.3      1612.5 COMPLETE FIRST DRAFT ROG AND RFP RESPONSE
                                                                DOCUMENTS; CONT WITH RFP RESPONSE
                                                                PACKETS; CALL FROM PLAINTIFF;
12/07/2018   Ira Kurzban            750          2        1500 REVIEWED EMAILS REGARDING WITNESS LIST AND
                                                                RULE 26 MATTERS; SENT NUMEROUS EMAILS
                                                                REGARDING SAME; EMAILS TO CO-COUNSEL RE
                                                                ROLE AT TRIAL; REVIEWED RESPONSIVE MEMOS
                                                                REGARDING DISCOVERY MATTERS
12/08/2018   Kevin Gregg            375         0.3       112.5 REVIEW DISCO EMAILS; CALL P BELIARD
12/09/2018   Kevin Gregg            375         1.6        600 RESPOND TO MB EMAIL RE RFP AND ROG;
                                                                FINALIZE RESPONSES WITH IK; EMAIL MB
12/10/2018   Ira Kurzban            750         1.3        975 CALL TO MP; SZ, SF, AND CONFERENCE CALL RE
                                                                EXPERTS; DISCUSSION WITH KG REGARDING
                                                                DOCUMENT SUBMISSION
12/10/2018   Kevin Gregg            375         1.8        675 REVIEW DISCO EMAILS AND AMMEND ROG;
                                                                EXPERT PHONE CALL WITH MB; FINALIZE DISCO
                                                                SUBMISSIONS
12/11/2018   Kevin Gregg            375          4        1500 REVIEW DISCO AND FILING EMAILS; CALL WITH IK
                                                                RE TODAYS CALL; CALL TO SEJAL RE MEETING;
                                                                EXPERT CALL; TALK IK; TALK WITH POSNER WITH
                                                                MB; CALL PS RE TESTIMONY
12/11/2018   Ira Kurzban            750          1         750 DISCUSSIONS WITH KG REGARDING PREPARING
                                                                EXPERTS; TELEPHONIC MEETING ON ISSUES;
                                                                TAKING DEPOSITIONS AS OPPOSED TO
                                                                COMPELLING WITNESSES
12/12/2018   Kevin Gregg            375         2.1       787.5 EMAILS AND CALLS RE DISCO AND EXPERTS
12/12/2018   Ira Kurzban            750         3.4       2550 REVIEWED GOV. RESPONSES ON RFP, RFA AND
                                                                OTHER DISCOVERY; EMAIL TO GP REGARDING
                                                                SAME; ATTENDED CONFERENCE CALL REGARDING
                                                                VARIOUS DISCOVERY ISSUES; FOLLOWED UP WITH
                                                                NUMEROUS EMAILS REGARDING THE DISCOVERY
                                                                ISSUES; SPOKE WITH KG
12/13/2018   Kevin Gregg            375         1.1       412.5 REVIEW EXPERT EMAILS; CALL AND SPEAK WITH
                                                                FORMER DHS OFFICIALS; CALL RICHARDS; EMAILS TO
                                                                GP; CALL
                                                                TPS PLAINTIFFS TO TESTIFY
12/14/2018   Kevin Gregg            375         0.8        300 DISCOVERY EMAILS WITH MB; CALL RE START
12/17/2018   Kevin Gregg            375         0.6        225 REVIEW QUASH EMAILS; TOM SHANNON CALL; SET
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                                                                UP DIAL IN CALL
12/18/2018   Kevin Gregg            375         1.6        600 CALL WITH SHANNON, SEJAL, IK DISCO AND
                                                                EMAILS
12/19/2018   Ira Kurzban            750          3        2250 DISCUSSION WITH TS RE TESTIMONY; FOLLOW UP
                                                                CALL WITH SZ REGARDING TESTIMONY; REVIEW OF
                                                                ORDERS FROM THE COURT; CONFERENCE CALL
                                                                WITH CO-COUNSEL; REVIEW OF OUTLINES FOR
                                                                TRIAL
12/19/2018   Kevin Gregg            375         0.3       112.5 REVIEW CT FILINGS
12/20/2018   Kevin Gregg            375         0.8        300 REVIEW SOPOENA AND START EMAILS; DISCUSS
                                                                DIRECT WITH SEJAL AND IK; EMAL GP
12/24/2018   Ira Kurzban            750          8        6000 READ DOCUMENTS IN PREPARATION FOR
                                                                TESTIMONY OF LEON RODRIGUEZ; READ AND
                                                                RESPONDED OT EMAILS
12/26/2018   Ira Kurzban            750          7        5250 REVIEWED DOCUMENTS; MET WITH EXPERT;
                                                                DISCUSSED PREPARATION OF HIS TESTIMONY;
                                                                REVIEWED ADDITIONAL DOCUMENTS
12/26/2018   Kevin Gregg            375         5.2       1950 REVIEW WEEKEND DISCO EMAILS AND TRIAL
                                                                START; PREP FOR RODRIGUEZ DEP; READ EXPERT
                                                                REPORTS AND TAKE NOTES; PREP OF RODRIGUEZ
12/26/2018                 15       525          1         525 REVIEWING MATERIALS AND PREPARING FOR
                                                                LEON RODRIGUEZ' DEPOSITION
12/27/2018   Ira Kurzban            750          6        4500 PREPARED FOR DEPOSITION AND DEPOSITION OF
                                                                LEON RODRIGUEZ
12/27/2018   Kevin Gregg            375         5.4       2025 PREP FOR AND DEFEND RODRIGUEZ DEPO
12/27/2018                 15       525           6       3150 ATTENDED LEON RODRIGUEZ' DEPOSITION
12/28/2018   Kevin Gregg            375           1        375 UPDATE RE LEON RODRIGUEZ DEPO; DISCOVERY
                                                                EMAILS; PUBLICITY EMAILS; START TO WITH IK
01/01/2019   Kevin Gregg            375         0.5       187.5 ARRANGE PLAINTIFF TRAVEL, DEPO TRANSCRIPTS
                                                                FOR TRIAL
01/02/2019   Kevin Gregg            375         3.8       1425 REVIEW AND SAVE ORDERS AND DISCO; RESPOND
                                                                AND FORWARD RE RODRIGUEZ DEP; CALL FROM
                                                                CT REPORTER; EMAIL TO VILME; DL EXS; EMAIL TO
                                                                RODRIGUEZ; CALL WITH SAM WITTEN; EMAIL RE
                                                                SHANNON; TALK IK RE SJHANNON
01/03/2019   Kevin Gregg            375         2.6        975 REVIEW MIL AND RESPONSE; ER EMAILS RE
                                                                RONDRIGUEZ; RESEARCH CRIM LIABILITY FOR
                                                                TOUHY VIOLATION; CALLS AND EMAILS RE TOM
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                                                                SHANNON
01/03/2019   Edward Ramos           475         3.7      1757.5 RESEARCH ON TOUHY ISSUE; REVIEW OF
                                                                RODRIGUEZ DEPOSITION AND EMAIL TO IRA
                                                                REGARDING POTENTIAL ISSUES AT TRIAL
01/04/2019   Kevin Gregg            375         7.3      2737.5 DRAFT RODRIGUEZ DIRECT AND PREP FOR
                                                                FLIGHT/TRIAL; VARIOUS EMAILS RE TRIAL AND
                                                                PRESS
01/05/2019   Kevin Gregg            375        12.7      4762.5 FLY TO NY; PREP FOR TRIAL
01/06/2019   Kevin Gregg            375           9       3375 PREP FOR TRIAL; PREP DIRECTS; START MEETINGS
01/06/2019   Ira Kurzban            750           6       4500 BEGAN PREPARING FOR THE HEARING; REVIEWING
                                                                DOCUMENTS FOR LR'S TESTIMONY
01/06/2019   Edward Ramos           475         5.5      2612.5 RESEARCH ON EXPERT TESTIMONY ISSUES
                                                                REGARDING RODRIGUEZ FOR TRIAL
01/07/2019   Kevin Gregg            375         15        5625 ATTEND AND PARTICIPATE IN TRIAL
01/07/2019   Ira Kurzban            750         10        7500 AT TRIAL AND THEN PREPARED LR FOR HIS
                                                                EXAMINATION
01/08/2019   Kevin Gregg            375        12.5      4687.5 ATTEND AND PARTICIPATE IN TRIAL
01/08/2019   Ira Kurzban            750           8           0 EXAMINED LP ON WITNESS STAND AND THEN
                                                                REMAINED FOR REST OF TRIAL
01/09/2019   Kevin Gregg            375         17        6375 ATTEND AND PARTICIPATE IN TRIAL; FLY TO MIAMI
01/09/2019   Ira Kurzban            750          8        6000 ATTENDED TRIAL; MADE SUGGESTIONS ON DIRECT
                                                                AND REDIRECT OF WITNESSES
01/10/2019   Ira Kurzban            750          6        4500 DISCUSSED CLOSING AND ATTENDED CLOSING
                                                                ARGUMENTS
01/11/2019   Kevin Gregg            375         1.1       412.5 EMAIL MB RE DOCS; EMAIL ER AND IK RE POST
                                                                TRIAL AND APPEALS; CALL WITH IK' CALL WITH
                                                                HAITI LIBERTE RE CASE
01/14/2019   Kevin Gregg            375         0.6        225 REVIEW EMAILS RE PROPOSED FINDINGS; EMAIL
                                                                MB; EMAIL ER;
01/15/2019   Kevin Gregg            375         0.9       337.5 REVIEW HT AND JUENE EMAILS; EMAIL MB RE EXS
                                                                AND DL EXS
01/15/2019   Edward Ramos           475         2.5      1187.5 REVIEW OF TRIAL TRANSCRIPTS & OTHER
                                                                DOCUMENTS RE TRIAL
01/16/2019   Kevin Gregg            375         0.1        37.5 EMAILS WITH FANM RE TRIAL
01/16/2019   Edward Ramos           475           3       1425 REVIEW OF TRIAL DOCUMENTS
01/17/2019   Kevin Gregg            375         0.7       262.5 READ EMAIL RE POST TRIAL FINDINGS PLAN;
                                                                DISCUSS WITH IK; REVIEW CLOSING PP AND ARG
01/17/2019   Ira Kurzban            750          4        3000 RECEIVED AND REVIEWED EMAIL FROM GP
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                                                                  REGARDING OUTLINE FOR FINDINGS OF FACT AND
                                                                  CONCLUSIONS OF LAW; DRAFTED A REPLY RAISING
                                                                  ISSUES REGARDING THE TESTIMONY; RECEIVED
                                                                  GP'S REPLY; SPOKE WITH KG AND ER ABOUT THE
                                                                  ISSUES; ASKED GP TO INCLUDE ER IN FUTURE
                                                                  EMAILS
01/19/2019   Kevin Gregg            375         0.2          75   EMAILS RE MEETING ND CT REPORTER PAYMENT
01/21/2019   Ira Kurzban            750           1         750   EMAIL EXCHANGES WITH CO COUNSEL
                                                                  REGARDING THE FINDINGS OF FACT AND
                                                                  CONCLUSIONS OF LAW
01/22/2019   Ira Kurzban            750           2       1500    REVIEWED OUTLINE AND DISCUSSION WITH KG
01/23/2019   Ira Kurzban            750           2       1500    DISCUSSION WITH SZ AND THE TEAM
01/23/2019   Kevin Gregg            375         1.3       487.5   REVIEW OUTLINE PRE MEETING; PHONE CALL
                                                                  MEETING; REVIEW PROPOSED FINDINGS OUTLINE

01/24/2019   Kevin Gregg            375         2.6        975 REVIEW SEJAL MB EMAILS RE PROPOSED FINDINGS
                                                                AND RESPOND; READ CLOSING; BEGIN ON
                                                                PROPOSED FINDINGS; EMAIL PLAINTIFFS
01/25/2019   Kevin Gregg            375         2.2        825 FINISH FIRST DRAFT FINDINGS VILME; EMAILS
                                                                SEJAL; STANDING SECTION OF LAW
01/28/2019   Kevin Gregg            375         1.3       487.5 FINISH FANM'S SECTION OF PROPOSED FINDINGS
01/29/2019   Kevin Gregg            375         2.7      1012.5 FINISH FANM FIRST DRAFT AND HAITI LIBERTE; RFA
                                                                RESEARCH AND STANDING SECTIONS
01/30/2019   Kevin Gregg            375         6.4       2400 COMPLETE STANDING FIRST DRAFT CONCLUSION
                                                                OF LAW; BEGIN RODRIGUEZ TESTIMONY FINDINGS
                                                                OF FACT
01/31/2019   Kevin Gregg            375         3.8       1425 COMPLETE PROPOSED FINDINGS KURZBAN/SEJAL
                                                                SECTIONS; EMAIL SEJAL, ER, AND IK
01/31/2019   Edward Ramos           475         0.3       142.5 EMAIL EXCHANGES WITH KG REGARDING MEMOS
                                                                ON MCNARY ARGUMENT
02/01/2019   Ira Kurzban            750          1         750 REVIEWED THE FINDINGS OF FACT AND
                                                                CONCLUSIONS OF LAW AND MADE SUGGESTIONS
02/01/2019   Kevin Gregg            375         2.1       787.5 INCORP ER AND SZ EDITS AND EMAIL DRAFT 2 TO
                                                                IK
02/01/2019   Edward Ramos           475          3        1425 REVIEW OF KKWTP FINDINGS OF FACT &
                                                                CONCLUSIONS OF LAW; SENT TO KG & IJK FOR
                                                                REVIEW
02/04/2019   Kevin Gregg            375         0.1        37.5 REVIEW RAMOS BRIEFING
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02/08/2019   Kevin Gregg            375         0.2          75 EMAIL MB RE PROPOSED FINDINGS
02/12/2019   Kevin Gregg            375         0.1        37.5 REVIEW FINDINGS AND EMAIL IK
02/13/2019   Kevin Gregg            375         2.5       937.5 REVIEW AND SAVE ER AND SZ DRAFTS; EDIT
                                                                PROPOSED FINDINGS FOR FINAL KURZBAN EDITS
02/13/2019   Edward Ramos           475         9.5      4512.5 EDITS TO PROPOSED FINDINGS OF FACT &
                                                                CONCLUSIONS OF LAW
02/14/2019   Kevin Gregg            375         0.3       112.5 PRELIM REVIEW RE ACLU ARG; RESPOND MIRIAM
                                                                CITATION Q
02/14/2019   Edward Ramos           475         1.5       712.5 READ ACLU BRIEF IN RAMOS CASE
02/15/2019   Kevin Gregg            375         1.8        675 DISCUSSION WITH CLIENT; FINAL REVIEW OF
                                                                PROPOSED FINDINGS AND PRELIM REVIEW OF
                                                                DEFENDANTS' FILINGS; CALL WITH SEJAL
02/15/2019   Edward Ramos           475         1.5       712.5 FINAL EDITS/COMMENTS TO PROPOSED FINDINGS
                                                                OF FACT & CONCLUSIONS OF LAW
02/19/2019   Kevin Gregg            375         0.6        225 REVIEW AND SAVE PROPOSED FINDINGS FILINGS;
                                                                REVIEW MB EMAIL RE D'S RESPONSE; DISCUSSION
                                                                IK
02/21/2019   Kevin Gregg            375         0.6        225 RESPOND IK EMAIL; BEGIN REVIEW OF D'S
                                                                PROPOSED FINDINGS AND HR NOTES
02/22/2019   Kevin Gregg            375          2         750 FINISH READING D FINGINS;
                                                                 DISCUSS RESPONSE WITH MB;
                                                                DISCUSSION WITH IK;
02/24/2019   Kevin Gregg            375         1.5       562.5 CREATE CHART AND BEGIN RESPONSE TO
                                                                FINDINGS
02/25/2019   Kevin Gregg            375         3.6       1350 NEARLY FINISH FIRST DRAFT RE KURZBAN
                                                                PROPOSED FINDINGS; EMAIL TO ER
02/26/2019   Kevin Gregg            375         2.7      1012.5 FINALIZE FINAL DRAFT KURZBAN FINDINGS -
                                                                CREATE REMEDY SECTION
02/27/2019   Ira Kurzban            750         2.2       1650 REVIEWED OUR REBUTTAL TO FINDINGS OF FACT
                                                                AND CONCLUSIONS OF LAW; MADE
                                                                CORRECTIONS
02/27/2019   Kevin Gregg            375         0.6        225 REVIEW FINAL KURZBAN SECTION SENT BY IK;
                                                                DISCUSSION WITH IK RE REMEDY AND PERIODIC
                                                                REVIEW
02/27/2019   Edward Ramos           475          2         950 WORK ON REMEDY SECTION OF HAITIAN TPS
                                                                RESPONSE TO GOV'T STATEMENT OF FACTS AND
                                                                CONCLUSIONS OF LAW
02/28/2019   Kevin Gregg            375         0.3       112.5 REVIEW OF POST-FINDINGS DRAFT FROM MB,
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                                                                 DISCUSSION WITH IK
03/01/2019   Kevin Gregg             375         3.6       1350 FINAL REVIEW OF PROPOSED FINDINGS WITH
                                                                 KURZBAN EDITS; FURTHER EDITS WITH MB AND
                                                                 SEJAL, AND FILING
03/04/2019   Kevin Gregg             375         0.2          75 REVIEW AND RESPOND TO MEDIA REQUEST EMAIL
03/05/2019   Kevin Gregg             375         0.2          75 CALL FROM IK AND CALL TO JUDGES CHAMBERS
                                                                 RE DOCKET ENTRIES
03/15/2019   Kevin Gregg             375         0.1        37.5 EMAIL TO SJ RE OXFAM ASSISTANCE
04/11/2019   Kevin Gregg             375         3.3      1237.5 PRELIM REVIEW OF CT DECISION AND EMAILS;
                                                                 CALL WITH GEOFF PIPOLY; EMAIL ATTYS AND
                                                                 PLAINTIFFS; READ PRELIM ORDER AND EMAIL IK
04/12/2019   Kevin Gregg             375         0.9       337.5 REVIEW OF TPS ARTICLES; DISCUSSIONS WITH
                                                                 ATTYS RE CASE; ORG FOR FANM EVENT
04/14/2019   Helena Tetzeli          575           1        575 REVIEW PRELIMINARY INJUNCTION ORDER
04/14/2019   Ira Kurzban             750         1.3        975 REVIEWS PI ORDER
04/15/2019   Helena Tetzeli          575           1        575 ATTEND PRESS CONFERENCE
04/16/2019   Kevin Gregg             375         0.3       112.5 DISCUSSION WITH THE INTERCEPT NEWSPAPER
                                                                 AND FANM
04/19/2019   Kevin Gregg             375         0.6        225 CALL WITH MB RE START; TALK START WITH IK
05/17/2019   Kevin Gregg             375         0.2          75 REVIEW AND RESPON TO IK EMAIL RE PRO HAC
                                                                 VICE AND NEW ATTY;
05/22/2019   Kevin Gregg             375         0.4        150 CALL WITH NIPLNG COUNSEL; EMAIL RE HIS
                                                                 APPEARANCE; REVIEW PO AND EMAIL TO KHALED
05/30/2019   Kevin Gregg             375         0.4        150 REVIEW CENSUS CASE MOTION
06/04/2019   Kevin Gregg             375         0.1        37.5 RESPOND TO SF EMAIL
06/06/2019   Kevin Gregg             375         0.1        37.5 REVIEW NOTICE OF APPEAL
06/12/2019   Kevin Gregg             375         0.1        37.5 EMAILS WITH SJ AND MARLEINE RE APPEAL
06/13/2019   Kevin Gregg             375         0.2          75 DISCUSSION WITH HT RE HAITIAN TPS STATUS

07/16/2019   Kevin Gregg             375         1.8        675 REVIEW APPELLATE DOCKET RE APPEARENCES AND
                                                                 EMAIL IK; EMAILS RE APPEARANCE WITH MB TEAM;
                                                                 PREP SECOND CIR APP AND REQUEST EFILING
07/17/2019   Kevin Gregg             375         0.5       187.5 PREP AND FILE KG APP TO APPEAR IN 2D CIR

07/18/2019   Kevin Gregg             375         0.9       337.5 ENTER IK APPEARANCE; SET UP CONF CALL; EMAILS
                                                                 WITH STAKE HOLDERS
07/22/2019   Kevin Gregg             375         0.3       112.5 FILE NOTICE OF APPEARANCE WITH 2D CIR
07/25/2019   Kevin Gregg             375         0.1        37.5 BEGIN REVIEW NEW DISC
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07/26/2019   Kevin Gregg            375         0.5       187.5 PHONE CALLS WITH GP RE DISCOVERY AND
                                                                PRODCUTION
07/30/2019   Kevin Gregg            375         0.3       112.5 DISCUSSION WITH IK AND REVIEW OF MATTER OF
                                                                D-A-C-; EMAIL TO TPS TEAM
08/01/2019   Kevin Gregg            375         0.1        37.5 EMAILS/ACTION RE KHALID'S ADMISSION TO 2D
08/02/2019   Kevin Gregg            375         1.1       412.5 COMPLETE DOCS RE KHALID'S ADMISSION; TPS
                                                                PHONE CALL
08/04/2019   Kevin Gregg            375         0.3       112.5 DOWNLOAD DISCO FILES AND REVIEW IMP DOCS
08/05/2019   Kevin Gregg            375         0.5       187.5 CALL FROM SF RE PAROLE CAUSE OF ACTION
08/06/2019   Kevin Gregg            375         0.2          75 REVIEW AND RESPOND TO SF MEMO RE HAITIAN
                                                                PAROLE
08/07/2019   Kevin Gregg            375         0.9       337.5 REVIEW SELECTS DISCO DOCS AND REVIEW WITH
                                                                IK; CALL FROM MB ATTY
08/08/2019   Ira Kurzban            750         1.9       1425 REVIEWED SOME DOCUMENTS AND THEN HAD A
                                                                CONFERENCE WITH KG ABOUT DOCS; ALSO SPOKE
                                                                WITH SZ AND REVIEWED GP'S EMAILS AND GOV.
                                                                RESPONSES
08/08/2019   Ira Kurzban            750         2.3       1725 REVIEWED SOME DOCUMENTS AND DISCUSSED
                                                                WITH KG AT GREATER LENGTH; REVIEWED EMAILS
                                                                FROM GP TO GOVERNMENT AND BACK; SPOKE
                                                                WITH SZ
08/08/2019   Kevin Gregg            375         0.5       187.5 REVIEW EMAILS RE STATUS OF DISCO AND
                                                                REMAND START; DISCUSSION WITH IK RE
                                                                RELEVANT DISCO DOCS
08/11/2019   Ira Kurzban            750         1.9       1425 REVIEWED NEW ADVISORY OPINION ON TPS AND
                                                                AOS TO SEE IF THERE WAS ANY HELPFUL
                                                                LANGUAGE IN THE OPINION
08/12/2019   Kevin Gregg            375         0.1        37.5 REVIEW EMAILS RE CALL AND EMAIL IK
08/13/2019   Kevin Gregg            375         0.1        37.5 REVIEW AUSA EMAIL RE DISCO
08/19/2019   Kevin Gregg            375         0.6        225 INITIAL DISCUSSION WITH INTERN RE
                                                                ASSIGNMENT RE HATIAN PAROLE LITIGATION
08/19/2019   Law Student Intern     175           3        525 RESEARCH
08/20/2019   Kevin Gregg            375         0.3       112.5 CONTINUED DISCUSSION WITH CLERK RE CAUSE
                                                                OF ACTION FOR PAROLE PROGRAM
08/20/2019   Kevin Gregg            375         0.1        37.5 DISCUSSION WITH CLERK RE PAROL CASE NDCA
08/20/2019   Law Student Intern     175           2        350 RESEARCH
08/21/2019   Law Student Intern     175         6.5      1137.5 RESEARCH
08/22/2019   Kevin Gregg            375         0.2          75 DISCUSSION WITH CLERK RE PAROLE PROGRAM
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                                                                MEMO
08/22/2019   Law Student Intern     175          3         525 RESEARCH AND DRAFTING
08/26/2019   Ira Kurzban            750          1         750 ON CALL FOR PART OF THE TIME AND REVIEWED
                                                                NOTES AND SPOKE WITH KG
08/26/2019   Kevin Gregg            375         1.1       412.5 DISCUSSION WITH CLERK RE PAROLE
                                                                INVESTIGATION; TPS LITIGATORS CALL RE RAMOS
08/26/2019   Law Student Intern     175           5        875 RESEARCH AND DRAFTING
08/28/2019   Law Student Intern     175           6       1050 DRAFTING MEMO
08/29/2019   Law Student Intern     175         3.5       612.5 DRAFTING MEMO
08/30/2019   Kevin Gregg            375         0.4        150 READ AND NOTATE 9TH CIR CASE ON
                                                                REVIEWABILITY; REVIEW AND EMAIL TO GS PER
                                                                DISCO EMAIL; EMAILS RE PAROLE PROGRAM SUIT
08/30/2019   Law Student Intern     175           9       1575 DRAFTING MEMO/ FINAL EDITS
09/02/2019   Ira Kurzban            750        0.75       562.5 REVIEWED THE DRAFT 62.1 MOTION TO KUNTZ
                                                                AND MADE COMMENTS
09/03/2019   Kevin Gregg            375         0.8        300 REVIEW AND EDIT DISTRICT CT MOTION AND
                                                                MEMO RE DISCO ISSUE AND EMAIL TO IK; CALL
                                                                WITH IK RE EDITS; REVIEW VARIOUS BACK ABD
                                                                FORTH EMAILS W USGOV RE MOTION
09/06/2019   Kevin Gregg            375         1.5       562.5 REVIEW AND EDIT MEMO RE PAROLE PROGRAM
09/06/2019   Law Student Intern     175           1        175 REVIEWED HFRP MEMORANDUM WITH KEVIN
09/09/2019   Law Student Intern     175           3        525 HFRP MEMORANDUM: REVIEWED KEVIN'S
                                                                QUESTIONS AND COMMENTS AND MADE THE
                                                                RELEVANT STYLISTIC CHANGES
09/09/2019   Law Student Intern     175         2.5       437.5 HFRP MEMORANDUM: REVISITED OLD SOURCES
                                                                AND STARTED SUBSEQUENT RESEARCH BASED ON
                                                                KEVIN'S SUGGESTIONS
09/11/2019   Law Student Intern     175         1.5       262.5 HFRP MEMORANDUM: CONTINUED RESEARCH
09/13/2019   Law Student Intern     175         3.5       612.5 HFRP: CONTINUED RESEARCH AND STARTED
                                                                SUPPLEMENTING/DRAFTING RELEVANT SECTIONS
09/16/2019   Kevin Gregg            375         0.8        300 EMAILS RE JOINT APPENDIX; CALL WITH MB AND
                                                                GP RE APPENDIX DOCS; REVIEW DOCS TO ENSURE
                                                                COMPLETE APPX DESIGNATIONS
09/19/2019   Kevin Gregg            375         0.6        225 REVIEW AND SAVE GOV BR AND OTHER FILINGS
                                                                ON APPEAL, DISCUSS IK
09/20/2019   Kevin Gregg            375         0.3       112.5 REVIEW EMAILS RE APPELLATE BRIEFS AND
                                                                DISCUSS WITH IK
09/22/2019   Kevin Gregg            375         1.1       412.5 READ AND ANNOTATE GOV BR; DISCUSSION WITH
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                                                                IK
09/23/2019   Kevin Gregg            375         0.7       262.5 DISCUSS APP BR WITH IK; ATTEND ATTY CALL WITH
                                                                IK
09/24/2019   Kevin Gregg            375         0.2          75 DISCUSS BRIEF WITH IK; EMAIL TO SF RE PAROLE
                                                                ISSUE
09/28/2019   Law Student Intern     175         4.3       752.5 HFRP MEMO
10/02/2019   Kevin Gregg            375         0.1        37.5 DOWNLOAD AND REVIEW APPELLANTS REFILED
                                                                DOCS
10/02/2019   Law Student Intern     175         4.5       787.5 HFRP MEMORANDUM
10/07/2019   Kevin Gregg            375         0.2          75 DISCUSSION W CLERK RE ANALYSIS RE PAROLE
                                                                PROGRAM
10/10/2019   Kevin Gregg            375         0.4        150 REVIEW SAJEL EMAIL RE AMICUS AND ANALYZE

                                                                FOR IK; RESPOND TO REPORTER EMAIL QS RE CASE
10/14/2019   Law Student Intern     175         1.5       262.5 HFRP MEMO
10/15/2019   Law Student Intern     175           3        525 HFRP MEMO
10/16/2019   Kevin Gregg            375         0.3       112.5 CALL FROM MB RE FOLLOWING TO JOIN HAITIAN
                                                                CASE; REVIEW EO RE AGENCY ENFORCEMENT
10/16/2019   Law Student Intern     175           7       1225 HFRP MEMO
10/18/2019   Law Student Intern     175           3        525 HFRP MEMO
10/21/2019   Law Student Intern     175           5        875 HFRP MEMO
10/22/2019   Kevin Gregg            375         0.1        37.5 PRELIM REV. INSTERCEPT ARTICLE RE HAITIAN
                                                                EARTHQUAKE
10/22/2019   Law Student Intern     175           2        350 HFRP MEMO
10/23/2019   Kevin Gregg            375         0.5       187.5 READ INTERCEPT ARTICLE RE HAITIAN CONDITIONS
                                                                IN CAMPS
10/23/2019   Law Student Intern     175           7       1225 HFRP MEMO
10/24/2019   Law Student Intern     175           6       1050 HFRP MEMO
10/25/2019   Law Student Intern     175           7       1225 HFRP MEMO
10/29/2019   Kevin Gregg            375         0.2          75 DISCUSSION WITH SO AND SF RE PAROLE BRIEF
10/29/2019   Law Student Intern     175         1.5       262.5 PREP FOR AND CALL WITH STEVEN
10/30/2019   Kevin Gregg            375         0.1        37.5 DISCUSS MEMO WITH CLERK AND BEGIN REVIEW
10/30/2019   Law Student Intern     175           5        875 EDITS TO HFRP DRAFT 2 PER CONVERSATION WITH
                                                                STEVE, RESENT TO KEVIN FOR REVIEW
10/31/2019   Kevin Gregg            375         3.3      1237.5 REVIEW CLERK DRAFT 2 OF HAITIAN PAROLE
                                                                PROGRAM TERMINATION CAUSE OF ACTION, AND
                                                                EDIT FOR IK
11/01/2019   Kevin Gregg            375         0.4        150 EMAIL TO SF RE STATUS OF ANALYSIS
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11/01/2019   Law Student Intern     175           4        700 HFRP MEMO DRAFT 2
11/03/2019   Kevin Gregg            375         0.1        37.5 EMAILS WITH SF RE PAROLE PROGRAM
11/04/2019   Kevin Gregg            375         0.8        300 REVIEW FRN AND ORGS SUMMARY FOR
                                                                COMPLIANCE W INJUNCTION; FINALIZE DRAFT OF
                                                                PAROLE PROGRAM ANALYSIS W CLERK;
                                                                DISCUSSION WITH COLUMBIA LAW RE STATUS OF
                                                                CASE
11/04/2019   Law Student Intern     175         3.5       612.5 HFRP MEMO DRAFT 2
11/06/2019   Kevin Gregg            375         0.4        150 FINAL REVIEW OF PAROLE PROGRAM MEMO AND
                                                                FORWARD TO IK
11/07/2019   Kevin Gregg            375         0.5       187.5 REVIEW AND ANNOTATE VOX ARTICLE RE DOS
                                                                POLITICIZED INPUT; DISCUSSION WITH GP RE NEW
                                                                EVIDENCE
11/08/2019   Kevin Gregg            375         0.1        37.5 REVIEW SZ EMAIL RE DOS DOCS
11/18/2019   Kevin Gregg            375         0.1        37.5 CALL FROM COLOMBIA UNIV JOURNALIST RE CASE
11/20/2019   Kevin Gregg            375         0.2          75 CALL FROM SF RE PAROLE PROGRAM
12/05/2019   Kevin Gregg            375         0.2          75 RESPOND TO REPORTER QS AND CALENDAR
                                                                DEADLINES
12/05/2019   Kevin Gregg            375         0.1        37.5 REVIEW PRESS EMAIL AND RESPOND, AND REVIEW
                                                                AMICUS EMAILS
12/09/2019   Kevin Gregg            375         2.9      1087.5 REVIEW AND EDIT RESPONSE TO APELLANT'S
                                                                BRIEF, AND EMAIL TO IK, ER, AND CR WITH NOTES
                                                                AND COMMENTS

12/11/2019   Kevin Gregg            375         0.2          75 REVIEW ER EDITS TO RESPONSE BR; REVIEW TEAM
                                                                EMAILS RE REVIEW
12/12/2019   Kevin Gregg            375         0.2          75 REVIEW APPEAL TEAM EMAIL AND REACH OUT TO
                                                                PLAINTIFSS RE CORPORATE DISCLOSURES
12/12/2019   Edward Ramos           475         2.5      1187.5 REVIEW OF OPPOSITION BRIEF; SENT IJK AND CR
                                                                COMMENTS
12/12/2019   Law Student Intern     175          2         350 REVIEWED HFRP MEMO AND IRA'S COMMENTS;

                                                                STARTED HFRP RELIEF & RETROACTIVITY RESEARCH
12/12/2019   Ira Kurzban            750           3       2250 REVIEWED OP BRIEF WITH COMMENTS
12/13/2019   Kevin Gregg            375         0.3       112.5 WRAP OF CORPORATE DISCLOSURE ISSUE AND
                                                                RESPOND TO MB; DISCUSS PAROLE PROGRAM
                                                                ANALYSIS WITH SO AND RETROACTIVITY CASE
                                                                LAW
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12/13/2019   Law Student Intern     175        1.75      306.25 DISCUSSED HFRP WITH KEVIN AND CONTINUED
                                                                HFRP RESEARCH
12/16/2019   Kevin Gregg            375         0.1        37.5 REVIEW IK AND CR EDITS AND EMAILS WIITH MB
                                                                TEAM
12/16/2019   Law Student Intern     175           1        175 HFRP RESEARCH
12/17/2019   Kevin Gregg            375         0.3       112.5 RESPOND TO AMICUS EMAIL RE IJDH; REVIEW AND
                                                                EDIT INTRO
12/17/2019   Law Student Intern     175          3         525 CONT HFRP RESEARCH; STARTED DRAFTING
                                                                ADDITIONAL SECTIONSRE HFRP DRAFT 3
12/18/2019   Kevin Gregg            375         0.3       112.5 REVIEW AND EDIT CORPORATE DISCLOSURE AND
                                                                COVER, AND CONFIRM CORP OWNERSHIP OF PS
12/18/2019   Edward Ramos           475         0.6        285 REVIEW OF INTRO FOR BRIEF; SENT COMMENTS TO
                                                                TEAM PER IJK INSTRUCTIONS
12/18/2019   Law Student Intern     175           3        525 HFRP DRAFT 3
12/19/2019   Kevin Gregg            375         0.1        37.5 REVIEW OF FINAL EMAILS RE RESPONSE BR
12/19/2019   Edward Ramos           475         7.2       3420 CLOSE REVIEW OF FINAL DRAFT OF BRIEF; LINE
                                                                EDITS & COMMENTS; SENT TO TEAM
12/19/2019   Law Student Intern     175         3.5       612.5 HFRP DRAFT 3
12/20/2019   Kevin Gregg            375         0.2          75 DISCUSSION W CLERK RE HAITIAN PAROLE
                                                                PROGRAM ASSIGNMENT AND EDITS
12/20/2019   Law Student Intern     175           4        700 HFRP DRAFT 3
12/20/2019   Ira Kurzban            750         0.4        300 NOTE TO KG REGARDING PAROLE
12/23/2019   Law Student Intern     175           4        700 HFRP DRAFT 3
12/24/2019   Kevin Gregg            375         0.2          75 REVIEW AND SAVE AMICUS FILINGS
12/30/2019   Kevin Gregg            375         1.4        525 REVIEW 2D CIR AUTO EMAILS AND AMNICUS
                                                                FILINGS; RESPOND TO MB EMAIL RE OA; CALL
                                                                WITH SJ RE OA
12/31/2019   Kevin Gregg            375         0.2          75 RESPOND TO IK EMAIL RE PAROLE MEMO AND
                                                                EMAIL IK RE OA
01/02/2020   Ira Kurzban            750          1         750 REVIEWED BRIEFS AGAIN AND SENT NOTE TO MN
                                                                REGARDING ORAL ARGUMENT
01/02/2020   Kevin Gregg            375         0.1        37.5 REVIEW OA FILINGS AND SAVE
01/06/2020   Kevin Gregg            375         0.1        37.5 DISCUSSION WITH SF RE PAROLE ANALYSIS;
                                                                REVIEW OF MIRIAM EMAILS RE RODRIGUEZ
01/09/2020   Kevin Gregg            375         0.1        37.5 PRELIM REVIEW REPLY BR
01/10/2020   Kevin Gregg            375         0.5       187.5 REVIEW AND ANNOTATE GOV REPLY BR
01/21/2020   Kevin Gregg            375         0.2          75 FINALIZE AND DISCUSS PAROLE MEMO WITH IK;
                                                                EMAIL TO IJDH
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01/21/2020   Ira Kurzban            750         0.4        300 DISCUSS WITH KG PAROLE MEMO
01/23/2020   Kevin Gregg            375         0.2          75 DISCUSS PAROLE CASE START WITH SF
01/27/2020   Law Student Intern     175           1        175 REVIEWED HFRP QUESTIONS AND RESPONDED TO
                                                                STEVE
01/28/2020   Kevin Gregg            375         0.1        37.5 DISCUSS CASE STATUS WITH PLAINITFF
02/26/2020   Kevin Gregg            375         0.3       112.5 CONVERSATION WITH CATHOLIC CHARITIES RE
                                                                STATUS OF CASE
05/01/2020   Kevin Gregg            375         1.6        600 PER IK, REVIEW LEON RODRIGUEZ TRIAL
                                                                TESTIMONY FOR TESTIMONY EST CHANGE IN
                                                                POLICY/PRACTICE OR VIOLATION OF TPS STATUTE,
                                                                AND EMAIL TO MIRIAM; EMAILS RE VIRTUAL MOOT
                                                                IN PREP FOR OA
05/06/2020   Kevin Gregg            375         0.1        37.5 RESPOND TO EAD Q FROM ATTY W TPS RECIPIENT
05/14/2020   Kevin Gregg            375         0.2          75 RESPOND TO STEVE AND CLIENT EMAIL RE APPEAL
                                                                TIMELINE AND DECISIONS
05/20/2020   Kevin Gregg            375         0.4        150 DISCUSSION WITH MB ASS RE OA START AND PREP
05/21/2020   Kevin Gregg            375         2.7      1012.5 REVIEW, SAVE, CALENDAR, AND EMAIL NOTICE OF
                                                                HRG; REVIEW MIRIAM EMAIL RE OA PRACTICE
                                                                TASKS AND DATES; CREATE MOCK QUESTIONS FOR
                                                                OA DOCS FOR MIRARIAM AND OA NOTES AND
                                                                EMAIL MIRIAM WITH KKTP QUESTIONS AND
                                                                SUGGESTIONS
06/02/2020   Kevin Gregg            375         0.2          75 COORDINATE MOOT THROUGH EMAILS
06/11/2020   Kevin Gregg            375         1.8        675 FIRST OF 2 PHONE CALLS TO PREP FOR OA
06/17/2020   Kevin Gregg            375         1.6        600 ATTEND OA MOOT TELEPHONICALLY
06/18/2020   Kevin Gregg            375         1.7       637.5 CALL WITH MB RE OA AND DACA CASE; READ
                                                                DACA MAJORITY DECISION AND EMAIL NOTES TO
                                                                OA TEAM; EMAILS WITH MB RE OA START; BR FOR
                                                                IK
06/19/2020   Kevin Gregg            375         0.2          75 REVIEW 28J LETTER AND SAVE FILINGS; EMAILS
                                                                WITH SF RE OA
06/22/2020   Kevin Gregg            375         1.6        600 LISTEN IN ON ORAL ARGUMENT; EMAILS WITH MB
                                                                AND SF; CALL FROM GP
09/14/2020   Kevin Gregg            375         0.8        300 REVIEW AND FORWARD RAMOS DECISION; CALL
                                                                WITH CO COUNSEL ON SAGET RE RAMOS
09/17/2020   Kevin Gregg            375         0.3       112.5 REVIEW 28J LETTER AND EMAIL TO TEAM; EMAILS
                                                                W IK
09/22/2020   Kevin Gregg            375         0.1        37.5 REVIEW 28J LETTER AND EMAILS
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12/04/2020   Kevin Gregg            375         0.3       112.5 REV STATUS OF RAMOS CASE FOR SAGET CASE
12/09/2020   Ira Kurzban            750         1.2        900 ZOOM CONFERENCE TO EXPLAIN TO CLASS
                                                                MEMBERS AND PLAINTIFFS THE RAMIFICATIONS
                                                                OF THE NOTICE IN THE FEDERAL REGISTER
                                                                EXTENDING TPS UNTIL OCTOBER AND THE
                                                                PENDENCY OF LEGISLATION THROUGH OMNIBUS
                                                                COVID-19 BILL
01/21/2021   Kevin Gregg            375         0.1        37.5 EMAILS RE CALL FOR START POST-TRUMP
01/25/2021   Ira Kurzban            750         0.5        375 CALL REGARDING TREATMENT OF APPEAL IN LIGHT
                                                                OF NEW ADMINISTRATION
01/25/2021   Kevin Gregg            375         0.7       262.5 CALL W ATTY TEAM RE CASE
02/23/2021   Kevin Gregg            375         0.1        37.5 REVIEW ATTY TEAM EMAILS RE STAY
02/24/2021   Kevin Gregg            375         0.1        37.5 REVIEW ABEYANCE MOTION
03/30/2021   Kevin Gregg            375         0.1        37.5 REVIEW AUSA FLING IN APPELLATE MATTER
05/24/2021   Kevin Gregg            375         0.1        37.5 ARRANGE FOR APPELLATE CALL
05/25/2021   Ira Kurzban            750           3       2250 REVIEWED TPS ANNOUNCEMENT; WORKED WITH
                                                                FANM REGARDING THE NATURE OF QUESTIONS TO
                                                                POSE TO MAYORKAS; WORKED WITH SF FROM
                                                                IJDH REGARDING QUESTIONS AS WELL FOR TODAY
06/08/2021   Ira Kurzban            750          3        2250 CALL WITH CO-COUNSEL; DISCUSSIONS OF
                                                                STRATEGY; RAISED ISSUES CONCERNING SANCHEZ
                                                                AND DRAFTED ISSUE DOCUMENT CONCERNING
                                                                SANCHEZ RELATED ISSUES
06/22/2021   Kevin Gregg            375         5.2       1950 CALLS WITH IK AND SF RE FIRM RESETTLEMENT
                                                                ASSIGNMENT FOR HAITIAN TPS GUIDANCE;
                                                                RESEARCH AND DRAFT LEGAL SECTIN FOR FIRM
                                                                RESETTLEMENT; CALL W GP AND MB RE MB CC
                                                                RESEARCH ASSISTANCE; CONDUCT CC AND
                                                                FOREIGN LAW RESEARCH; OUTREACH TO CHILEAN
                                                                AND BRAZILIAN IMM ATTYS RE LEGAL OPINION
06/23/2021   Kevin Gregg            375         5.1      1912.5 REVIEW AND INCORP CC RESEARCH FROM MB
                                                                ATTORNEYS; 2ND DRAFT LEGAL SECTION OF FIRM
                                                                RESETTLEMENT; REACH OUT TO ATTYS IN BRAZIL,
                                                                CHILE, AND MX RE OPINION LETTERS; COORD W
                                                                MB ATTYS RE ADDITIONAL RESEARCH; CALLS W MB
                                                                AND FOREIGN ATTYS; CALL W IK RE RETAINER;
                                                                FIRST DRAFT EX CITES
06/24/2021   Kevin Gregg            375         1.3       487.5 CONT FIRM RESETTLEMENT BR AND EDITS W
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                                                                FOREIGN LAWYERS; PREP EMAIL TO IK
06/25/2021   Kevin Gregg            375         1.4        525 REVIEW MX LEGAL OPINION AND COMPLETE
                                                                DRAFT 1 OF LEGAL MEMO; EMAIL DRAFT 1 TO IK;
                                                                RESPOND TO IK EMAIL RE MEMO
06/27/2021   Kevin Gregg            375         2.5       937.5 DISCUSSION WITH IK RE OPINION; INCORPORATE
                                                                IK EDITS AND PROVIDE FURTHER EDITS RE MEMO;
                                                                EMAIL MB RE LEG HISTORY
06/28/2021   Kevin Gregg            375         0.3       112.5 LEG HSTY ASSIGNMENT TO MB;
06/29/2021   Kevin Gregg            375         0.4        150 DISCUSSION W MB ATTY RE LEG HISTORY
06/30/2021   Kevin Gregg            375         0.7       262.5 EMAILS W SF RE CASE; FIRM RESETTLEMENT CASE
                                                                LAW AND LEG HISTORY ANALYSIS
07/01/2021   Ira Kurzban            750         1.3        975 REVIEW OF LATEST DRAFT ON TPS AND FIRM
                                                                RESETTLEMENT
07/01/2021   Kevin Gregg            375         1.7       637.5 COMPLETE DRAFT 2 OF TPS MEMO AND EMAIL TO
                                                                IK WITH INCRP FROM MB LEG HISTORY
07/02/2021   Kevin Gregg            375          1         375 REVIEW MB EDITS AND INPUT FINAL EDITS TO

                                                                  FIRM RESETTLEMENT BR; EMAIL TO STAKEHOLDERS
                                                                  FOR DHS SUBMISSION
07/06/2021   Kevin Gregg            375         1.3       487.5   CALL W SF AND CLAREL RE IJ FIRM RESETTLEMENT
                                                                  ISSUE; DRAFT ADDENDUM TO COVER LETTER
07/08/2021   Kevin Gregg            375         0.2          75   REACH OUT TO MB RE FIRM RESETTLEMENT ISSUE
                                                                  AND SETTLEMENT
07/09/2021   Kevin Gregg            375         0.2          75   RESPOND TO SF AND IK EMAILS RE MAKING MEMO
                                                                  PUBLIC
07/13/2021   Kevin Gregg            375         0.5       187.5   REVIEW CO-COUNSEL CONFIDENTIALITY
                                                                  AGREEMENT AND EDIT; EMAIL TO MB; EMAIL FINAL
                                                                  AGREEMENT TO RAMOS TEAM
07/14/2021   Kevin Gregg            375         0.4         150   EMAILS W TEAM RE FIRM RESETTLEMENT AND
                                                                  BRAZIL ISSUE AND EXPERT REPORTS
07/22/2021   Kevin Gregg            375         0.1        37.5   REVIEW EX A COMMON INT AGREEMENT AND
                                                                  SAVE
08/03/2021   Kevin Gregg            375         0.5       187.5   CALL FROM SF RE FED REG AND AUTO EXTENSION
                                                                  RE EAD; EMAIL CO COUNSEL RE AUTO EXTENSION
                                                                  EAD ISSUE; CALL W MB RE SETTLEMENT START

08/11/2021   Ira Kurzban            750         1.5        1125 REVIEWED MEMO ON EAJA; CHECKED A FEW CITES;
                                                                HAD CONFERENCE CALL WITH CO-COUNSEL RE
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                                                                  STRATEGY
08/18/2021   Ira Kurzban            750         0.5          375 PREPARATION AND DISCUSSION WITH GOV
                                                                  COUNSEL RE NEXT STEPS TOWARD SETTLEMENT
08/26/2021   Kevin Gregg            375         0.2            75 CALL W SF RE SETTLEMENT ISSUES FOR TPS
                                                                  HOLDERS
08/27/2021   Kevin Gregg            375         0.1          37.5 REVIEW RAMOS EMAILS RE EAD SETTLEMENT
09/07/2021   Kevin Gregg            375         0.1          37.5 REVIEW SF EMAIL
09/21/2021   Kevin Gregg            375         0.3         112.5 CALL W GP RE TPS CASE AND HAITIAN OPTIONS RE
                                                                  BORDER
09/24/2021   Ira Kurzban            750         0.3          225 REVIEWED DISMISSAL; GP'S RESPONSE AND NOTE
                                                                  FROM SEJAL
09/29/2021   Kevin Gregg            375         0.1          37.5 REVIEW AND SAVE STIP OF APP WITHDRAWAL
10/13/2021   Ira Kurzban            750           3         2250 DISCUSSIONS & EMAILS WITH GP AND OTHERS
                                                                  OVER PAST SEVERAL DAYS CONCERNING HOW TO
                                                                  PRESENT EAJA FEE APPLICATIONS
             TOTALS                             885   $383,620.75
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        1500.0003 11/05/2017        2 P 901              0.35                  8.75   DOCUMENT REPRODUCTION            1
        1500.0003 11/05/2017        2 P 901              0.35                  15.4   DOCUMENT REPRODUCTION            2
        1500.0003 11/06/2017        2 P 901              0.35                  8.75   DOCUMENT REPRODUCTION            3
        1500.0003 11/06/2017        2 P 901              0.35                   2.8   DOCUMENT REPRODUCTION            4
        1500.0003 11/08/2017        2 P 901              0.35                   2.8   DOCUMENT REPRODUCTION            5
        1500.0003 11/08/2017        2 P 901              0.35                   2.8   DOCUMENT REPRODUCTION            6
        1500.0003 11/08/2017        2 P 901              0.35                  7.35   DOCUMENT REPRODUCTION            7
        1500.0003 11/08/2017        2 P 901              0.35                  18.9   DOCUMENT REPRODUCTION            8
        1500.0003 11/13/2017        2 P 901              0.35                 18.55   DOCUMENT REPRODUCTION            9
        1500.0003 11/13/2017        2 P 901              0.35                   3.5   DOCUMENT REPRODUCTION           10
        1500.0003 11/13/2017        2 P 901              0.35                  3.15   DOCUMENT REPRODUCTION           11
        1500.0003 11/13/2017        2 P 901              0.35                  11.2   DOCUMENT REPRODUCTION           12
        1500.0003 11/14/2017        2 P 901              0.35                 45.85   DOCUMENT REPRODUCTION           13
        1500.0003 11/14/2017        2 P 901              0.35                  8.75   DOCUMENT REPRODUCTION           14
        1500.0003 11/14/2017        2 P 901              0.35                  15.4   DOCUMENT REPRODUCTION           15
        1500.0003 11/14/2017        2 P 901              0.35                  16.8   DOCUMENT REPRODUCTION           16
        1500.0003 11/15/2017        2 P 901              0.35                  7.35   DOCUMENT REPRODUCTION           17
        1500.0003 11/15/2017        2 P 901              0.35                 15.75   DOCUMENT REPRODUCTION           18
        1500.0003 11/19/2017        2 P 901              0.35                   6.3   DOCUMENT REPRODUCTION           19
        1500.0003 11/19/2017        2 P 901              0.35                  5.25   DOCUMENT REPRODUCTION           20
        1500.0003 11/19/2017        2 P 901              0.35                  5.25   DOCUMENT REPRODUCTION           21
        1500.0003 11/19/2017        2 P 901              0.35                  8.75   DOCUMENT REPRODUCTION           22
        1500.0003 11/20/2017        2 P 901              0.35                  5.25   DOCUMENT REPRODUCTION           23
        1500.0003 11/20/2017        2 P 901              0.35                  5.25   DOCUMENT REPRODUCTION           24
        1500.0003 11/20/2017        2 P 901              0.35                  5.25   DOCUMENT REPRODUCTION           25
        1500.0003 12/14/2017        2 P 901              0.35                 14.35   DOCUMENT REPRODUCTION           26
        1500.0003 12/14/2017        2 P 901              0.35                  3.15   DOCUMENT REPRODUCTION           27
        1500.0003 12/14/2017        2 P 901              0.35                   2.8   DOCUMENT REPRODUCTION           28
        1500.0003 12/18/2017        2 P 901              0.35                   9.8   DOCUMENT REPRODUCTION           29
        1500.0003 12/20/2017        2 P 901              0.35                   9.8   DOCUMENT REPRODUCTION           30
        1500.0003 12/20/2017        2 P 901              0.35                  16.8   DOCUMENT REPRODUCTION           31
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1500.0003   12/20/2017     2   P   901        0.35           18.9    DOCUMENT REPRODUCTION               32
1500.0003   01/16/2018     2   P   901        0.35           16.8    DOCUMENT REPRODUCTION               33
1500.0003   01/17/2018     2   P   901        0.35            9.1    DOCUMENT REPRODUCTION               34
1500.0003   01/17/2018     2   P   901        0.35           4.55    DOCUMENT REPRODUCTION               35
1500.0003   01/17/2018     2   P   901        0.35            5.6    DOCUMENT REPRODUCTION               36
1500.0003   01/17/2018     2   P   901        0.35            5.6    DOCUMENT REPRODUCTION               37
1500.0003   01/17/2018     2   P   901        0.35            4.9    DOCUMENT REPRODUCTION               38
1500.0003   01/18/2018     2   P   901        0.35          27.65    DOCUMENT REPRODUCTION               39
1500.0003   01/19/2018     2   P   901        0.35           8.05    DOCUMENT REPRODUCTION               40
1500.0003   01/26/2018     2   P   901        0.35           1.05    DOCUMENT REPRODUCTION               41
1500.0003   01/26/2018     2   P   901        0.35           3.85    DOCUMENT REPRODUCTION               42
1500.0003   01/26/2018     2   P   901        0.35           3.15    DOCUMENT REPRODUCTION               43
1500.0003   01/29/2018     2   P   901        0.35          12.95    DOCUMENT REPRODUCTION               44
1500.0003   01/29/2018     2   P   901        0.35           8.75    DOCUMENT REPRODUCTION               45
1500.0003   02/26/2018     2   P   901        0.35            0.7    DOCUMENT REPRODUCTION               46
1500.0003   02/26/2018     2   P   901        0.35            1.4    DOCUMENT REPRODUCTION               47
1500.0003   02/26/2018     2   P   901        0.35          11.55    DOCUMENT REPRODUCTION               48
1500.0003   03/15/2018     2   P   901        0.35          11.55    DOCUMENT REPRODUCTION               50
1500.0003   03/15/2018     2   P   901        0.35            2.8    DOCUMENT REPRODUCTION               51
1500.0003   03/15/2018     2   P   901        0.35            2.1    DOCUMENT REPRODUCTION               52
1500.0003   03/15/2018     2   P   901        0.35          11.55    DOCUMENT REPRODUCTION               53
1500.0003   03/15/2018     2   P   901        0.35            2.8    DOCUMENT REPRODUCTION               54
1500.0003   03/15/2018     2   P   901        0.35            2.1    DOCUMENT REPRODUCTION               55
1500.0003   03/15/2018     2   P   901        0.35            1.4    DOCUMENT REPRODUCTION               56
1500.0003   03/15/2018     2   P   901        0.35            2.8    DOCUMENT REPRODUCTION               57
1500.0003   03/15/2018     2   P   901        0.35            2.8    DOCUMENT REPRODUCTION               58
1500.0003   03/16/2018     2   P     5                      25.56    KEVIN GREGG - REIMBURSE CERT. OF GOOD
                                                                                                         49 STANDING FEE
1500.0003   03/16/2018     2   P   901        0.35           2.45    DOCUMENT REPRODUCTION               59
1500.0003   03/16/2018     2   P   901        0.35          80.85    DOCUMENT REPRODUCTION               60
1500.0003   03/16/2018     2   P   901        0.35           19.6    DOCUMENT REPRODUCTION               61
1500.0003   03/16/2018     2   P   901        0.35           14.7    DOCUMENT REPRODUCTION               62
1500.0003   03/16/2018     2   P   905        6.67          33.35    POSTAGE                             63
1500.0003   03/27/2018     2   P   901        0.35           5.25    DOCUMENT REPRODUCTION               64
1500.0003   04/09/2018     2   P     5                         75    ONE SOURCE PROCESS, INC             65
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1500.0003   04/30/2018     2   P     5                        175    ONE SOURCE PROCESS, INC.            66
1500.0003   05/03/2018     2   P   901        0.35             6.3   DOCUMENT REPRODUCTION               67
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1500.0003   05/03/2018     2   P   901        0.35            0.7   DOCUMENT REPRODUCTION       68
1500.0003   05/03/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION       69
1500.0003   05/03/2018     2   P   901        0.35            9.1   DOCUMENT REPRODUCTION       70
1500.0003   05/09/2018     2   P   901        0.35          28.35   DOCUMENT REPRODUCTION       72
1500.0003   05/10/2018     2   P   901        0.35          28.35   DOCUMENT REPRODUCTION       73
1500.0003   05/10/2018     2   P   901        0.35           12.6   DOCUMENT REPRODUCTION       74
1500.0003   05/10/2018     2   P   901        0.35           12.6   DOCUMENT REPRODUCTION       75
1500.0003   05/10/2018     2   P   901        0.35           11.9   DOCUMENT REPRODUCTION       76
1500.0003   05/14/2018     2   P   901        0.35          11.55   DOCUMENT REPRODUCTION       77
1500.0003   05/30/2018     2   P     5                       24.7   PACER SERVICE CENTER       103
1500.0003   06/01/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION       78
1500.0003   06/01/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION       79
1500.0003   06/01/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION       80
1500.0003   06/01/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION       81
1500.0003   06/01/2018     2   P   901        0.35          35.35   DOCUMENT REPRODUCTION       82
1500.0003   06/01/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION       83
1500.0003   06/01/2018     2   P   901        0.35            6.3   DOCUMENT REPRODUCTION       84
1500.0003   06/01/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION       85
1500.0003   06/01/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION       86
1500.0003   06/01/2018     2   P   901        0.35            9.8   DOCUMENT REPRODUCTION       87
1500.0003   06/01/2018     2   P   901        0.35          11.55   DOCUMENT REPRODUCTION       88
1500.0003   06/04/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION       89
1500.0003   06/04/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION       90
1500.0003   06/04/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION       91
1500.0003   06/04/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION       92
1500.0003   06/04/2018     2   P   901        0.35          35.35   DOCUMENT REPRODUCTION       93
1500.0003   06/04/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION       94
1500.0003   06/04/2018     2   P   901        0.35            6.3   DOCUMENT REPRODUCTION       95
1500.0003   06/04/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION       96
1500.0003   06/04/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION       97
1500.0003   06/04/2018     2   P   901        0.35            9.8   DOCUMENT REPRODUCTION       98
1500.0003   06/04/2018     2   P   901        0.35          11.55   DOCUMENT REPRODUCTION       99
1500.0003   06/11/2018     2   P     5                      17.98   FEDEX                      100
1500.0003   06/11/2018     2   P     5                      17.98   FEDEX                      101
1500.0003   06/11/2018     2   P     5                      37.96   FEDEX                      102
1500.0003   06/22/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      104
1500.0003   07/12/2018     2   P   901        0.35          69.65   DOCUMENT REPRODUCTION      105
1500.0003   07/26/2018     2   P     5                       26.7   PACER SERVICE CENTER       106
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1500.0003   08/07/2018     2   P   901        0.35          19.95   DOCUMENT REPRODUCTION      107
1500.0003   08/10/2018     2   P   901        0.35          13.65   DOCUMENT REPRODUCTION      108
1500.0003   08/16/2018     2   P   901        0.35          10.15   DOCUMENT REPRODUCTION      109
1500.0003   08/16/2018     2   P   901        0.35           5.95   DOCUMENT REPRODUCTION      110
1500.0003   08/16/2018     2   P   901        0.35          10.85   DOCUMENT REPRODUCTION      111
1500.0003   08/16/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      112
1500.0003   08/16/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION      113
1500.0003   08/16/2018     2   P   901        0.35           5.95   DOCUMENT REPRODUCTION      114
1500.0003   08/16/2018     2   P   901        0.35           5.95   DOCUMENT REPRODUCTION      115
1500.0003   10/10/2018     2   P   901        0.35           7.35   DOCUMENT REPRODUCTION      116
1500.0003   10/10/2018     2   P   901        0.35             28   DOCUMENT REPRODUCTION      117
1500.0003   10/10/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION      118
1500.0003   10/10/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      119
1500.0003   10/10/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      120
1500.0003   10/10/2018     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION      121
1500.0003   10/10/2018     2   P   901        0.35           5.95   DOCUMENT REPRODUCTION      122
1500.0003   10/10/2018     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION      123
1500.0003   10/10/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      124
1500.0003   10/10/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      125
1500.0003   10/10/2018     2   P   901        0.35           6.65   DOCUMENT REPRODUCTION      126
1500.0003   10/10/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      127
1500.0003   10/10/2018     2   P   901        0.35           4.55   DOCUMENT REPRODUCTION      128
1500.0003   10/10/2018     2   P   901        0.35           30.1   DOCUMENT REPRODUCTION      129
1500.0003   10/10/2018     2   P   901        0.35            3.5   DOCUMENT REPRODUCTION      130
1500.0003   10/10/2018     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION      131
1500.0003   10/10/2018     2   P   901        0.35           35.7   DOCUMENT REPRODUCTION      132
1500.0003   10/10/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      133
1500.0003   10/10/2018     2   P   901        0.35          15.05   DOCUMENT REPRODUCTION      134
1500.0003   10/10/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      135
1500.0003   10/10/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      136
1500.0003   10/10/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      137

1500.0003   10/10/2018     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION      138
1500.0003   10/10/2018     2   P   901        0.35              7   DOCUMENT REPRODUCTION      139
1500.0003   10/10/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      140
1500.0003   10/10/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      141
1500.0003   10/10/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      142
1500.0003   10/10/2018     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION      143
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1500.0003   10/10/2018     2   P   901        0.35          15.05   DOCUMENT REPRODUCTION      144
1500.0003   10/10/2018     2   P   901        0.35           20.3   DOCUMENT REPRODUCTION      145
1500.0003   10/10/2018     2   P   901        0.35           13.3   DOCUMENT REPRODUCTION      146
1500.0003   10/10/2018     2   P   901        0.35          13.65   DOCUMENT REPRODUCTION      147
1500.0003   10/30/2018     2   P     5                         10   PACER SERVICE CENTER       201
1500.0003   11/19/2018     2   P   901        0.35          11.55   DOCUMENT REPRODUCTION      148
1500.0003   11/19/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      149
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      150
1500.0003   11/19/2018     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION      151
1500.0003   11/19/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      152
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      153
1500.0003   11/19/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      154
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      155
1500.0003   11/19/2018     2   P   901        0.35          35.35   DOCUMENT REPRODUCTION      156
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      157
1500.0003   11/19/2018     2   P   901        0.35            6.3   DOCUMENT REPRODUCTION      158
1500.0003   11/19/2018     2   P   901        0.35          11.55   DOCUMENT REPRODUCTION      159
1500.0003   11/19/2018     2   P   901        0.35            9.8   DOCUMENT REPRODUCTION      160
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      161
1500.0003   11/19/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION      162
1500.0003   11/19/2018     2   P   901        0.35          13.65   DOCUMENT REPRODUCTION      163
1500.0003   11/19/2018     2   P   901        0.35             28   DOCUMENT REPRODUCTION      164
1500.0003   11/19/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION      165
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      166
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      167
1500.0003   11/19/2018     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION      168
1500.0003   11/19/2018     2   P   901        0.35           5.95   DOCUMENT REPRODUCTION      169
1500.0003   11/19/2018     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION      170
1500.0003   11/19/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      171
1500.0003   11/19/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      172
1500.0003   11/19/2018     2   P   901        0.35           6.65   DOCUMENT REPRODUCTION      173
1500.0003   11/19/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      174
1500.0003   11/19/2018     2   P   901        0.35           4.55   DOCUMENT REPRODUCTION      175
1500.0003   11/19/2018     2   P   901        0.35           30.1   DOCUMENT REPRODUCTION      176
1500.0003   11/19/2018     2   P   901        0.35            3.5   DOCUMENT REPRODUCTION      177
1500.0003   11/19/2018     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION      178
1500.0003   11/19/2018     2   P   901        0.35           35.7   DOCUMENT REPRODUCTION      179
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      180
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1500.0003   11/19/2018     2   P   901        0.35          15.05   DOCUMENT REPRODUCTION      181
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      182
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      183
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      184
1500.0003   11/19/2018     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION      185
1500.0003   11/19/2018     2   P   901        0.35              7   DOCUMENT REPRODUCTION      186
1500.0003   11/19/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      187
1500.0003   11/19/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      188
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      189
1500.0003   11/19/2018     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION      190
1500.0003   11/19/2018     2   P   901        0.35          15.05   DOCUMENT REPRODUCTION      191
1500.0003   11/19/2018     2   P   901        0.35           20.3   DOCUMENT REPRODUCTION      192
1500.0003   11/19/2018     2   P   901        0.35           13.3   DOCUMENT REPRODUCTION      193
1500.0003   11/19/2018     2   P   901        0.35           7.35   DOCUMENT REPRODUCTION      194
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      195
1500.0003   11/19/2018     2   P   901        0.35            3.5   DOCUMENT REPRODUCTION      196
1500.0003   11/19/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      197
1500.0003   11/19/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      198
1500.0003   11/20/2018     2   P   901        0.35          31.15   DOCUMENT REPRODUCTION      199
1500.0003   11/20/2018     2   P   901        0.35            4.2   DOCUMENT REPRODUCTION      200
1500.0003   12/04/2018     2   P   901        0.35           4.55   DOCUMENT REPRODUCTION      202
1500.0003   12/04/2018     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION      203
1500.0003   12/04/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      204
1500.0003   12/05/2018     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION      205
1500.0003   12/06/2018     2   P   901        0.35           16.8   DOCUMENT REPRODUCTION      206
1500.0003   12/06/2018     2   P   901        0.35            7.7   DOCUMENT REPRODUCTION      207
1500.0003   12/06/2018     2   P   901        0.35            6.3   DOCUMENT REPRODUCTION      208

1500.0003   12/06/2018     2   P   901        0.35            8.4   DOCUMENT REPRODUCTION      209
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      210
1500.0003   12/06/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      211
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      212
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      213
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      214
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      215
1500.0003   12/06/2018     2   P   901        0.35           30.8   DOCUMENT REPRODUCTION      216
1500.0003   12/06/2018     2   P   901        0.35          52.85   DOCUMENT REPRODUCTION      217
1500.0003   12/06/2018     2   P   901        0.35          70.35   DOCUMENT REPRODUCTION      218
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1500.0003   12/06/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      219
1500.0003   12/06/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      220
1500.0003   12/06/2018     2   P   901        0.35            5.6   DOCUMENT REPRODUCTION      221
1500.0003   12/06/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      222
1500.0003   12/06/2018     2   P   901        0.35           1.05   DOCUMENT REPRODUCTION      223
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      224
1500.0003   12/06/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      225
1500.0003   12/06/2018     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION      226
1500.0003   12/06/2018     2   P   901        0.35            4.2   DOCUMENT REPRODUCTION      227
1500.0003   12/06/2018     2   P   901        0.35            1.4   DOCUMENT REPRODUCTION      228
1500.0003   12/06/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      229
1500.0003   12/06/2018     2   P   901        0.35           1.05   DOCUMENT REPRODUCTION      230
1500.0003   12/06/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      231
1500.0003   12/07/2018     2   P   901        0.35            1.4   DOCUMENT REPRODUCTION      232
1500.0003   12/07/2018     2   P   901        0.35            1.4   DOCUMENT REPRODUCTION      233
1500.0003   12/07/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      234
1500.0003   12/07/2018     2   P   901        0.35           1.05   DOCUMENT REPRODUCTION      235
1500.0003   12/09/2018     2   P   901        0.35           7.35   DOCUMENT REPRODUCTION      236
1500.0003   12/09/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      237
1500.0003   12/10/2018     2   P   901        0.35            4.9   DOCUMENT REPRODUCTION      238
1500.0003   12/10/2018     2   P   901        0.35            5.6   DOCUMENT REPRODUCTION      239
1500.0003   12/10/2018     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION      240
1500.0003   12/10/2018     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION      241
1500.0003   12/10/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      242
1500.0003   12/10/2018     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION      243
1500.0003   12/10/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION      244
1500.0003   12/14/2018     2   P   901        0.35           6.65   DOCUMENT REPRODUCTION      245
1500.0003   12/14/2018     2   P   901        0.35           9.45   DOCUMENT REPRODUCTION      246
1500.0003   12/14/2018     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION      247
1500.0003   12/14/2018     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION      248
1500.0003   12/14/2018     2   P   901        0.35         101.85   DOCUMENT REPRODUCTION      249
1500.0003   12/19/2018     2   P     5                       750    BUSINESS TRAVEL EXPENSE    250
1500.0003   12/26/2018     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION      251
1500.0003   12/26/2018     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION      252
1500.0003   12/26/2018     2   P   901        0.35           10.5   DOCUMENT REPRODUCTION      253
1500.0003   12/26/2018     2   P   901        0.35           12.6   DOCUMENT REPRODUCTION      254
1500.0003   12/26/2018     2   P   901        0.35         169.05   DOCUMENT REPRODUCTION      255
1500.0003   12/26/2018     2   P   901        0.35            4.9   DOCUMENT REPRODUCTION      256
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1500.0003   12/26/2018     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION              257
1500.0003   12/27/2018     2   P   901        0.35          13.65   DOCUMENT REPRODUCTION              258
1500.0003   12/27/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION              259
1500.0003   12/27/2018     2   P   901        0.35           3.15   DOCUMENT REPRODUCTION              260
1500.0003   12/27/2018     2   P   901        0.35             28   DOCUMENT REPRODUCTION              261
1500.0003   12/27/2018     2   P   901        0.35           41.3   DOCUMENT REPRODUCTION              262
1500.0003   12/27/2018     2   P   901        0.35           7.35   DOCUMENT REPRODUCTION              263
1500.0003   12/27/2018     2   P   901        0.35           18.9   DOCUMENT REPRODUCTION              264
1500.0003   12/27/2018     2   P   901        0.35            8.4   DOCUMENT REPRODUCTION              265
1500.0003   12/27/2018     2   P   901        0.35            4.2   DOCUMENT REPRODUCTION              266
1500.0003   12/28/2018     2   P     5                      275.2   AMERICAN EXPRESS - BUSINESS TRAVEL EXPENSE
                                                                                                       304
1500.0003   01/02/2019     2   P   901        0.35           57.4   DOCUMENT REPRODUCTION              267
1500.0003   01/02/2019     2   P   901        0.35          19.25   DOCUMENT REPRODUCTION              268
1500.0003   01/02/2019     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION              269
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION              270
1500.0003   01/02/2019     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION              271
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION              272
1500.0003   01/02/2019     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION              273
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION              274
1500.0003   01/02/2019     2   P   901        0.35           8.05   DOCUMENT REPRODUCTION              275
1500.0003   01/02/2019     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION              276
1500.0003   01/02/2019     2   P   901        0.35            0.7   DOCUMENT REPRODUCTION              277
1500.0003   01/02/2019     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION              278

1500.0003   01/02/2019     2   P   901        0.35            4.9   DOCUMENT REPRODUCTION             279
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION             280
1500.0003   01/02/2019     2   P   901        0.35           57.4   DOCUMENT REPRODUCTION             281
1500.0003   01/02/2019     2   P   901        0.35          19.25   DOCUMENT REPRODUCTION             282
1500.0003   01/02/2019     2   P   901        0.35           3.85   DOCUMENT REPRODUCTION             283
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION             284
1500.0003   01/02/2019     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION             285
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION             286
1500.0003   01/02/2019     2   P   901        0.35           8.05   DOCUMENT REPRODUCTION             287
1500.0003   01/02/2019     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION             288
1500.0003   01/02/2019     2   P   901        0.35            0.7   DOCUMENT REPRODUCTION             289
1500.0003   01/02/2019     2   P   901        0.35           1.75   DOCUMENT REPRODUCTION             290
1500.0003   01/02/2019     2   P   901        0.35            4.9   DOCUMENT REPRODUCTION             291
1500.0003   01/02/2019     2   P   901        0.35           0.35   DOCUMENT REPRODUCTION             292
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1500.0003   01/02/2019     2   P   901        0.35           4.55   DOCUMENT REPRODUCTION              293
1500.0003   01/03/2019     2   P   901        0.35            2.1   DOCUMENT REPRODUCTION              294
1500.0003   01/03/2019     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION              295
1500.0003   01/03/2019     2   P   901        0.35            2.8   DOCUMENT REPRODUCTION              296
1500.0003   01/03/2019     2   P   901        0.35          50.75   DOCUMENT REPRODUCTION              297
1500.0003   01/04/2019     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION              298
1500.0003   01/04/2019     2   P   901        0.35           15.4   DOCUMENT REPRODUCTION              299
1500.0003   01/04/2019     2   P   901        0.35           36.4   DOCUMENT REPRODUCTION              300
1500.0003   01/04/2019     2   P   901        0.35          50.75   DOCUMENT REPRODUCTION              301
1500.0003   01/04/2019     2   P   901        0.35           8.05   DOCUMENT REPRODUCTION              302
1500.0003   01/14/2019     2   P   901        0.35           6.65   DOCUMENT REPRODUCTION              303
1500.0003   01/18/2019     2   P     5                      29.04   FEDEX                              308
1500.0003   01/18/2019     2   P     5                      33.27   FEDEX                              309
1500.0003   01/18/2019     2   P     5                     132.17   FEDEX                              310
1500.0003   01/18/2019     2   P     5                      76.72   FEDEX                              311
1500.0003   01/18/2019     2   P     5                      14.14   FEDEX                              312
1500.0003   01/22/2019     2   P   901        0.35              7   DOCUMENT REPRODUCTION              305
1500.0003   01/28/2019     2   P     5                    1457.95   KEVIN GREGG - REIMBURSE TRAVEL COSTS
                                                                                                       306FOR TRIAL
1500.0003   01/29/2019     2   P     5                      904.9   UNITED REPORTING, INC.             307
1500.0003   01/31/2019     2   P     5                          7   PACER SERVICE CENTER               313
1500.0003   01/31/2019     2   P     5                      19.91   FEDEX                              314
1500.0003   01/31/2019     2   P     5                      38.29   FEDEX                              315
1500.0003   02/15/2019     2   P   901        0.35          30.45   DOCUMENT REPRODUCTION              316
1500.0003   02/15/2019     2   P   901        0.35          45.15   DOCUMENT REPRODUCTION              317
1500.0003   02/17/2019     2   P     5                     1592.2   AMERICAN EXPRESS - BUSINESS TRAVEL EXPENSE
                                                                                                       321
1500.0003   02/19/2019     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION              318
1500.0003   02/19/2019     2   P   901        0.35          30.45   DOCUMENT REPRODUCTION              319
1500.0003   03/01/2019     2   P   901        0.35           39.2   DOCUMENT REPRODUCTION              320
1500.0003   04/11/2019     2   P   901        0.35          50.75   DOCUMENT REPRODUCTION              322
1500.0003   04/19/2019     2   P     5                        3.2   PACER SERVICE CENTER               323
1500.0003   05/31/2019     2   P   901        0.35             14   DOCUMENT REPRODUCTION              335
1500.0003   07/06/2019     2   P   901        0.35           60.2   DOCUMENT REPRODUCTION              336
1500.0003   07/17/2019     2   P   901        0.35           2.45   DOCUMENT REPRODUCTION              337
1500.0003   07/27/2019     2   P   901        0.35          25.55   DOCUMENT REPRODUCTION              338
1500.0003   07/30/2019     2   P     5                       11.6   PACER SERVICE CENTER               324
1500.0003   08/05/2019     2   P   901        0.35           5.25   DOCUMENT REPRODUCTION              339
1500.0003   08/07/2019     2   P   901        0.35           40.6   DOCUMENT REPRODUCTION              340
1500.0003   08/20/2019     2   P   901        0.35          15.75   DOCUMENT REPRODUCTION              341
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       1500.0003    09/19/2019     2   P   901         0.35             74.55   DOCUMENT REPRODUCTION               342
       1500.0003    10/07/2019     2   P   901         0.35               6.3   DOCUMENT REPRODUCTION               343
       1500.0003    10/22/2019     2   P   901         0.35             15.75   DOCUMENT REPRODUCTION               344
       1500.0003    10/31/2019     2   P     5                            2.2   PACER SERVICE CENTER                345
       1500.0003    11/29/2019     2   P     5                           820    THOMSON REUTERS - WESTLAW           346
       1500.0003    12/31/2019     2   P     5                            2.2   PACER SERVICE CENTER                348
       1500.0003    01/09/2020     2   P   901         0.35              16.8   DOCUMENT REPRODUCTION               347
       1500.0003    01/21/2020     2   P   901         0.35              11.2   DOCUMENT REPRODUCTION               349
       1500.0003    01/30/2020     2   P     5                           293    THOMSON REUTERS - WESTLAW           350
       1500.0003    05/31/2020     2   P    10                             86   THOMSON REUTERS - WESTLAW           354
       1500.0003    06/24/2021     2   P     5                           350    ARIEL WOLFENSON RIVAS - LEGAL OPINION
                                                                                                                    352
       1500.0003    06/30/2021     2   P     5                           932    THOMSON REUTERS - WESTLAW           353
       1500.0003    07/31/2021     2   P    10                           224    THOMSON REUTERS - WESTLAW           355

Total for Client ID 1500.0003                       Billable         12517.72   INSTITUTE FOR JUSTICE & DEMOCRARY IN HAITI
                                                                                TPS FEDERAL LITIGATION

                                                               GRAND TOTALS

                                                    Billable         12517.72
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Date: 10/18/2021                                               Detail Cost Transaction File List       Page: 1
                                                               Kurzban Kurzban Tetzeli & Pratt, P.A.

                     Trans             H Tcode/
Client               Date         Tkpr P Task Code   Rate      Amount                                  Ref #

Transaction Date 11/05/2017
      1500.0003 11/05/2017        2   P    901          0.35       8.75    DOCUMENT REPRODUCTION               1
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
         1500.0003   11/05/2017   2   P    901          0.35       15.4    DOCUMENT REPRODUCTION               2
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
Transaction Date 11/06/2017
      1500.0003 11/06/2017        2   P    901          0.35       8.75    DOCUMENT REPRODUCTION               3
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
         1500.0003   11/06/2017   2   P    901          0.35        2.8    DOCUMENT REPRODUCTION               4
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
Transaction Date 11/08/2017
      1500.0003 11/08/2017        2   P    901          0.35        2.8    DOCUMENT REPRODUCTION               5
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
         1500.0003   11/08/2017   2   P    901          0.35        2.8    DOCUMENT REPRODUCTION               6
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
         1500.0003   11/08/2017   2   P    901          0.35       7.35    DOCUMENT REPRODUCTION               7
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
         1500.0003   11/08/2017   2   P    901          0.35       18.9    DOCUMENT REPRODUCTION               8
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
Transaction Date 11/13/2017
      1500.0003 11/13/2017        2   P    901          0.35      18.55    DOCUMENT REPRODUCTION               9
                                                                           SAGET et al v. TRUMP
                                                                           TPS FEDERAL LITIGATION
         1500.0003   11/13/2017   2   P    901          0.35        3.5    DOCUMENT REPRODUCTION          10
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                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/13/2017   2   P   901         0.35    3.15   DOCUMENT REPRODUCTION       11
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/13/2017   2   P   901         0.35    11.2   DOCUMENT REPRODUCTION       12
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 11/14/2017
      1500.0003 11/14/2017     2   P   901         0.35   45.85   DOCUMENT REPRODUCTION       13
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/14/2017   2   P   901         0.35    8.75   DOCUMENT REPRODUCTION       14
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/14/2017   2   P   901         0.35    15.4   DOCUMENT REPRODUCTION       15
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/14/2017   2   P   901         0.35    16.8   DOCUMENT REPRODUCTION       16
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 11/15/2017
      1500.0003 11/15/2017     2   P   901         0.35    7.35   DOCUMENT REPRODUCTION       17
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/15/2017   2   P   901         0.35   15.75   DOCUMENT REPRODUCTION       18
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 11/19/2017
      1500.0003 11/19/2017     2   P   901         0.35     6.3   DOCUMENT REPRODUCTION       19
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/19/2017   2   P   901         0.35    5.25   DOCUMENT REPRODUCTION       20
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   11/19/2017   2   P   901         0.35    5.25   DOCUMENT REPRODUCTION       21
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
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      1500.0003   11/19/2017    2   P   901         0.35    8.75   DOCUMENT REPRODUCTION       22
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 11/20/2017
      1500.0003 11/20/2017      2   P   901         0.35    5.25   DOCUMENT REPRODUCTION       23
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   11/20/2017    2   P   901         0.35    5.25   DOCUMENT REPRODUCTION       24
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   11/20/2017    2   P   901         0.35    5.25   DOCUMENT REPRODUCTION       25
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 12/14/2017
      1500.0003 12/14/2017      2   P   901         0.35   14.35   DOCUMENT REPRODUCTION       26
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   12/14/2017    2   P   901         0.35    3.15   DOCUMENT REPRODUCTION       27
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   12/14/2017    2   P   901         0.35     2.8   DOCUMENT REPRODUCTION       28
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 12/18/2017
      1500.0003 12/18/2017      2   P   901         0.35     9.8   DOCUMENT REPRODUCTION       29
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 12/20/2017
      1500.0003 12/20/2017      2   P   901         0.35     9.8   DOCUMENT REPRODUCTION       30
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   12/20/2017    2   P   901         0.35    16.8   DOCUMENT REPRODUCTION       31
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   12/20/2017    2   P   901         0.35    18.9   DOCUMENT REPRODUCTION       32
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 01/16/2018
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      1500.0003   01/16/2018    2   P   901         0.35    16.8   DOCUMENT REPRODUCTION       33
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 01/17/2018
      1500.0003 01/17/2018      2   P   901         0.35     9.1   DOCUMENT REPRODUCTION       34
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/17/2018    2   P   901         0.35    4.55   DOCUMENT REPRODUCTION       35
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/17/2018    2   P   901         0.35     5.6   DOCUMENT REPRODUCTION       36
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/17/2018    2   P   901         0.35     5.6   DOCUMENT REPRODUCTION       37
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/17/2018    2   P   901         0.35     4.9   DOCUMENT REPRODUCTION       38
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 01/18/2018
      1500.0003 01/18/2018      2   P   901         0.35   27.65   DOCUMENT REPRODUCTION       39
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 01/19/2018
      1500.0003 01/19/2018      2   P   901         0.35    8.05   DOCUMENT REPRODUCTION       40
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 01/26/2018
      1500.0003 01/26/2018      2   P   901         0.35    1.05   DOCUMENT REPRODUCTION       41
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/26/2018    2   P   901         0.35    3.85   DOCUMENT REPRODUCTION       42
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/26/2018    2   P   901         0.35    3.15   DOCUMENT REPRODUCTION       43
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 01/29/2018
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      1500.0003   01/29/2018   2   P   901         0.35   12.95   DOCUMENT REPRODUCTION       44
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   01/29/2018   2   P   901         0.35    8.75   DOCUMENT REPRODUCTION       45
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 02/26/2018
      1500.0003 02/26/2018     2   P   901         0.35     0.7   DOCUMENT REPRODUCTION       46
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   02/26/2018   2   P   901         0.35     1.4   DOCUMENT REPRODUCTION       47
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   02/26/2018   2   P   901         0.35   11.55   DOCUMENT REPRODUCTION       48
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 03/15/2018
      1500.0003 03/15/2018     2   P   901         0.35   11.55   DOCUMENT REPRODUCTION       50
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   03/15/2018   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION       51
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   03/15/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION       52
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   03/15/2018   2   P   901         0.35   11.55   DOCUMENT REPRODUCTION       53
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   03/15/2018   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION       54
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   03/15/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION       55
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   03/15/2018   2   P   901         0.35     1.4   DOCUMENT REPRODUCTION       56
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
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      1500.0003   03/15/2018    2   P   901         0.35     2.8   DOCUMENT REPRODUCTION            57
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   03/15/2018    2   P   901         0.35     2.8   DOCUMENT REPRODUCTION            58
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 03/16/2018
      1500.0003 03/16/2018      2   P    5                 25.56   KEVIN GREGG - REIMBURSE CERT. OF49GOOD STANDING FEE
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   03/16/2018    2   P   901         0.35    2.45   DOCUMENT REPRODUCTION           59
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   03/16/2018    2   P   901         0.35   80.85   DOCUMENT REPRODUCTION           60
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   03/16/2018    2   P   901         0.35    19.6   DOCUMENT REPRODUCTION           61
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   03/16/2018    2   P   901         0.35    14.7   DOCUMENT REPRODUCTION           62
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   03/16/2018    2   P   905         6.67   33.35   POSTAGE                         63
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 03/27/2018
      1500.0003 03/27/2018      2   P   901         0.35    5.25   DOCUMENT REPRODUCTION            64
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 04/09/2018
      1500.0003 04/09/2018      2   P    5                   75    ONE SOURCE PROCESS, INC          65
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 04/13/2018
      1500.0003 04/13/2018      2   P    5                  550    AMERICAN EXPRESS - FILING FEES   71
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 04/30/2018
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      1500.0003   04/30/2018    2   P    5                  175    ONE SOURCE PROCESS, INC.    66
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 05/03/2018
      1500.0003 05/03/2018      2   P   901         0.35     6.3   DOCUMENT REPRODUCTION       67
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   05/03/2018    2   P   901         0.35     0.7   DOCUMENT REPRODUCTION       68
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   05/03/2018    2   P   901         0.35    1.75   DOCUMENT REPRODUCTION       69
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   05/03/2018    2   P   901         0.35     9.1   DOCUMENT REPRODUCTION       70
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 05/09/2018
      1500.0003 05/09/2018      2   P   901         0.35   28.35   DOCUMENT REPRODUCTION       72
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 05/10/2018
      1500.0003 05/10/2018      2   P   901         0.35   28.35   DOCUMENT REPRODUCTION       73
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   05/10/2018    2   P   901         0.35    12.6   DOCUMENT REPRODUCTION       74
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   05/10/2018    2   P   901         0.35    12.6   DOCUMENT REPRODUCTION       75
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   05/10/2018    2   P   901         0.35    11.9   DOCUMENT REPRODUCTION       76
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 05/14/2018
      1500.0003 05/14/2018      2   P   901         0.35   11.55   DOCUMENT REPRODUCTION       77
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 05/30/2018
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      1500.0003   05/30/2018    2   P    5                  24.7   PACER SERVICE CENTER       103
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 06/01/2018
      1500.0003 06/01/2018      2   P   901         0.35   15.75   DOCUMENT REPRODUCTION       78
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35     2.1   DOCUMENT REPRODUCTION       79
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35     2.8   DOCUMENT REPRODUCTION       80
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35    1.75   DOCUMENT REPRODUCTION       81
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35   35.35   DOCUMENT REPRODUCTION       82
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35     2.1   DOCUMENT REPRODUCTION       83
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35     6.3   DOCUMENT REPRODUCTION       84
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35    3.15   DOCUMENT REPRODUCTION       85
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35    1.75   DOCUMENT REPRODUCTION       86
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35     9.8   DOCUMENT REPRODUCTION       87
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   06/01/2018    2   P   901         0.35   11.55   DOCUMENT REPRODUCTION       88
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 06/04/2018
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      1500.0003   06/04/2018   2   P   901         0.35   15.75   DOCUMENT REPRODUCTION       89
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION       90
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION       91
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION       92
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35   35.35   DOCUMENT REPRODUCTION       93
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION       94
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35     6.3   DOCUMENT REPRODUCTION       95
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35    3.15   DOCUMENT REPRODUCTION       96
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION       97
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35     9.8   DOCUMENT REPRODUCTION       98
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/04/2018   2   P   901         0.35   11.55   DOCUMENT REPRODUCTION       99
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 06/11/2018
      1500.0003 06/11/2018     2   P    5                 17.98   FEDEX                      100
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/11/2018   2   P    5                 17.98   FEDEX                      101
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                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   06/11/2018   2   P    5                 37.96   FEDEX                      102
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 06/22/2018
      1500.0003 06/22/2018     2   P   901         0.35   15.75   DOCUMENT REPRODUCTION      104
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 07/12/2018
      1500.0003 07/12/2018     2   P   901         0.35   69.65   DOCUMENT REPRODUCTION      105
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 07/26/2018
      1500.0003 07/26/2018     2   P    5                  26.7   PACER SERVICE CENTER       106
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 08/07/2018
      1500.0003 08/07/2018     2   P   901         0.35   19.95   DOCUMENT REPRODUCTION      107
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 08/10/2018
      1500.0003 08/10/2018     2   P   901         0.35   13.65   DOCUMENT REPRODUCTION      108
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 08/16/2018
      1500.0003 08/16/2018     2   P   901         0.35   10.15   DOCUMENT REPRODUCTION      109
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   08/16/2018   2   P   901         0.35    5.95   DOCUMENT REPRODUCTION      110
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   08/16/2018   2   P   901         0.35   10.85   DOCUMENT REPRODUCTION      111
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   08/16/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      112
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
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      1500.0003   08/16/2018   2   P   901         0.35    3.15   DOCUMENT REPRODUCTION      113
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   08/16/2018   2   P   901         0.35    5.95   DOCUMENT REPRODUCTION      114
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   08/16/2018   2   P   901         0.35    5.95   DOCUMENT REPRODUCTION      115
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      1500.0003   10/10/2018   2   P   901         0.35     28    DOCUMENT REPRODUCTION      117
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      1500.0003   10/10/2018   2   P   901         0.35    3.15   DOCUMENT REPRODUCTION      118
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      1500.0003   10/10/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      119
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      1500.0003   10/10/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      120
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      1500.0003   10/10/2018   2   P   901         0.35    3.85   DOCUMENT REPRODUCTION      121
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      1500.0003   10/10/2018   2   P   901         0.35    5.95   DOCUMENT REPRODUCTION      122
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      1500.0003   10/10/2018   2   P   901         0.35    2.45   DOCUMENT REPRODUCTION      123
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      1500.0003   10/10/2018   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION      124
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      1500.0003   10/10/2018   2   P   901         0.35   15.75   DOCUMENT REPRODUCTION      140
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      1500.0003   10/10/2018   2   P   901         0.35   15.75   DOCUMENT REPRODUCTION      141
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      1500.0003   10/10/2018   2   P   901         0.35    3.85   DOCUMENT REPRODUCTION      143
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      1500.0003   11/19/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      189
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      1500.0003   11/19/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      195
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      1500.0003 12/04/2018     2   P   901         0.35    4.55   DOCUMENT REPRODUCTION      202
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      1500.0003   12/04/2018   2   P   901         0.35    2.45   DOCUMENT REPRODUCTION      203
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      1500.0003   12/04/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      204
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      1500.0003 12/05/2018     2   P   901         0.35    5.25   DOCUMENT REPRODUCTION      205
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      1500.0003 12/06/2018     2   P   901         0.35    16.8   DOCUMENT REPRODUCTION      206
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      1500.0003   12/06/2018   2   P   901         0.35     8.4   DOCUMENT REPRODUCTION      209
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      1500.0003   12/06/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      210
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1500.0003   12/06/2018   2   P   901         0.35   52.85   DOCUMENT REPRODUCTION      217
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1500.0003   12/06/2018   2   P   901         0.35   70.35   DOCUMENT REPRODUCTION      218
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1500.0003   12/06/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      219
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      1500.0003   12/06/2018   2   P   901         0.35    2.45   DOCUMENT REPRODUCTION      226
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      1500.0003   12/06/2018   2   P   901         0.35     4.2   DOCUMENT REPRODUCTION      227
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      1500.0003   12/06/2018   2   P   901         0.35     1.4   DOCUMENT REPRODUCTION      228
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      1500.0003   12/06/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      229
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      1500.0003   12/06/2018   2   P   901         0.35    1.05   DOCUMENT REPRODUCTION      230
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      1500.0003 12/07/2018     2   P   901         0.35     1.4   DOCUMENT REPRODUCTION      232
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      1500.0003   12/07/2018   2   P   901         0.35     1.4   DOCUMENT REPRODUCTION      233
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      1500.0003   12/07/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      234
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      1500.0003   12/07/2018   2   P   901         0.35    1.05   DOCUMENT REPRODUCTION      235
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      1500.0003   12/10/2018   2   P   901         0.35     5.6   DOCUMENT REPRODUCTION      239
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                                                                  TPS FEDERAL LITIGATION
      1500.0003   12/10/2018   2   P   901         0.35    5.25   DOCUMENT REPRODUCTION      240
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
      1500.0003   12/10/2018   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION      241
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      1500.0003   12/10/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      242
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      1500.0003   12/10/2018   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      243
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      1500.0003   12/10/2018   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      244
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      1500.0003 12/14/2018     2   P   901         0.35    6.65   DOCUMENT REPRODUCTION      245
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                                                                  TPS FEDERAL LITIGATION
      1500.0003   12/14/2018   2   P   901         0.35    9.45   DOCUMENT REPRODUCTION      246
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                                                                  TPS FEDERAL LITIGATION
      1500.0003   12/14/2018   2   P   901         0.35    3.85   DOCUMENT REPRODUCTION      247
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                                                                  TPS FEDERAL LITIGATION
      1500.0003   12/14/2018   2   P   901         0.35    3.85   DOCUMENT REPRODUCTION      248
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                                                                   TPS FEDERAL LITIGATION
      1500.0003   12/14/2018   2   P   901         0.35   101.85   DOCUMENT REPRODUCTION     249
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      1500.0003 12/19/2018     2   P    5                   750    BUSINESS TRAVEL EXPENSE   250
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Transaction Date 12/26/2018
      1500.0003 12/26/2018     2   P   901         0.35     2.45   DOCUMENT REPRODUCTION     251
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                                                                   TPS FEDERAL LITIGATION
      1500.0003   12/26/2018   2   P   901         0.35    15.75   DOCUMENT REPRODUCTION     252
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      1500.0003   12/26/2018   2   P   901         0.35     10.5   DOCUMENT REPRODUCTION     253
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      1500.0003   12/26/2018   2   P   901         0.35     12.6   DOCUMENT REPRODUCTION     254
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      1500.0003   12/26/2018   2   P   901         0.35   169.05   DOCUMENT REPRODUCTION     255
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      1500.0003   12/26/2018   2   P   901         0.35      4.9   DOCUMENT REPRODUCTION     256
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      1500.0003   12/26/2018   2   P   901         0.35      2.1   DOCUMENT REPRODUCTION     257
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                                                                   TPS FEDERAL LITIGATION
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      1500.0003 12/27/2018     2   P   901         0.35    13.65   DOCUMENT REPRODUCTION     258
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      1500.0003   12/27/2018   2   P   901         0.35     3.15   DOCUMENT REPRODUCTION     259
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      1500.0003   12/27/2018   2   P   901         0.35     3.15   DOCUMENT REPRODUCTION     260
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      1500.0003   12/27/2018   2   P   901         0.35     28    DOCUMENT REPRODUCTION       261
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      1500.0003   12/27/2018   2   P   901         0.35    41.3   DOCUMENT REPRODUCTION       262
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                                                                  TPS FEDERAL LITIGATION
      1500.0003   12/27/2018   2   P   901         0.35    7.35   DOCUMENT REPRODUCTION       263
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      1500.0003   12/27/2018   2   P   901         0.35    18.9   DOCUMENT REPRODUCTION       264
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      1500.0003   12/27/2018   2   P   901         0.35     8.4   DOCUMENT REPRODUCTION       265
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      1500.0003   12/27/2018   2   P   901         0.35     4.2   DOCUMENT REPRODUCTION       266
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      1500.0003 01/02/2019     2   P   901         0.35    57.4   DOCUMENT REPRODUCTION       267
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      1500.0003   01/02/2019   2   P   901         0.35   19.25   DOCUMENT REPRODUCTION       268
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      1500.0003   01/02/2019   2   P   901         0.35    3.85   DOCUMENT REPRODUCTION       269
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      1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION       270
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      1500.0003   01/02/2019   2   P   901         0.35    3.85   DOCUMENT REPRODUCTION       271
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1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION      272
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1500.0003   01/02/2019   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      273
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1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION      274
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1500.0003   01/02/2019   2   P   901         0.35    8.05   DOCUMENT REPRODUCTION      275
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1500.0003   01/02/2019   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION      276
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1500.0003   01/02/2019   2   P   901         0.35     0.7   DOCUMENT REPRODUCTION      277
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1500.0003   01/02/2019   2   P   901         0.35     4.9   DOCUMENT REPRODUCTION      279
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1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION      280
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1500.0003   01/02/2019   2   P   901         0.35    57.4   DOCUMENT REPRODUCTION      281
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      1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION      284
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      1500.0003   01/02/2019   2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      285
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      1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION      286
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                                                                  TPS FEDERAL LITIGATION
      1500.0003   01/02/2019   2   P   901         0.35    8.05   DOCUMENT REPRODUCTION      287
                                                                  SAGET et al v. TRUMP
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      1500.0003   01/02/2019   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION      288
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      1500.0003   01/02/2019   2   P   901         0.35     0.7   DOCUMENT REPRODUCTION      289
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      1500.0003   01/02/2019   2   P   901         0.35    1.75   DOCUMENT REPRODUCTION      290
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      1500.0003   01/02/2019   2   P   901         0.35     4.9   DOCUMENT REPRODUCTION      291
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      1500.0003   01/02/2019   2   P   901         0.35    0.35   DOCUMENT REPRODUCTION      292
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      1500.0003   01/02/2019   2   P   901         0.35    4.55   DOCUMENT REPRODUCTION      293
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      1500.0003 01/03/2019     2   P   901         0.35     2.1   DOCUMENT REPRODUCTION      294
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      1500.0003   01/03/2019   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION      295
                                                                  SAGET et al v. TRUMP
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      1500.0003   01/03/2019   2   P   901         0.35     2.8   DOCUMENT REPRODUCTION      296
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      1500.0003   01/03/2019   2   P   901         0.35    50.75   DOCUMENT REPRODUCTION     297
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      1500.0003 01/04/2019     2   P   901         0.35    15.75   DOCUMENT REPRODUCTION     298
                                                                   SAGET et al v. TRUMP
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      1500.0003   01/04/2019   2   P   901         0.35     15.4   DOCUMENT REPRODUCTION     299
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      1500.0003   01/04/2019   2   P   901         0.35     36.4   DOCUMENT REPRODUCTION     300
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      1500.0003   01/04/2019   2   P   901         0.35    50.75   DOCUMENT REPRODUCTION     301
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      1500.0003   01/04/2019   2   P   901         0.35     8.05   DOCUMENT REPRODUCTION     302
                                                                   SAGET et al v. TRUMP
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Transaction Date 01/14/2019
      1500.0003 01/14/2019     2   P   901         0.35     6.65   DOCUMENT REPRODUCTION     303
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Transaction Date 01/18/2019
      1500.0003 01/18/2019     2   P    5                  29.04   FEDEX                     308
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
      1500.0003   01/18/2019   2   P    5                  33.27   FEDEX                     309
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      1500.0003   01/18/2019   2   P    5                 132.17   FEDEX                     310
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      1500.0003   01/18/2019   2   P    5                  76.72   FEDEX                     311
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      1500.0003   01/18/2019   2   P    5                   14.14   FEDEX                        312
                                                                    SAGET et al v. TRUMP
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Transaction Date 01/22/2019
      1500.0003 01/22/2019     2   P   901         0.35        7    DOCUMENT REPRODUCTION        305
                                                                    SAGET et al v. TRUMP
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Transaction Date 01/28/2019
      1500.0003 01/28/2019     2   P    5                 1457.95   KEVIN GREGG - REIMBURSE TRAVEL306
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      1500.0003 01/29/2019     2   P    5                   904.9   UNITED REPORTING, INC.       307
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      1500.0003 01/31/2019     2   P    5                      7    PACER SERVICE CENTER         313
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      1500.0003   01/31/2019   2   P    5                   19.91   FEDEX                        314
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      1500.0003   01/31/2019   2   P    5                   38.29   FEDEX                        315
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Transaction Date 02/15/2019
      1500.0003 02/15/2019     2   P   901         0.35     30.45   DOCUMENT REPRODUCTION        316
                                                                    SAGET et al v. TRUMP
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      1500.0003   02/15/2019   2   P   901         0.35     45.15   DOCUMENT REPRODUCTION        317
                                                                    SAGET et al v. TRUMP
                                                                    TPS FEDERAL LITIGATION
Transaction Date 02/17/2019
      1500.0003 02/17/2019     2   P    5                  1592.2   AMERICAN EXPRESS - BUSINESS TRAVEL
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                                                                    TPS FEDERAL LITIGATION
Transaction Date 02/19/2019
      1500.0003 02/19/2019     2   P   901         0.35      2.45   DOCUMENT REPRODUCTION        318
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                                                                   TPS FEDERAL LITIGATION
      1500.0003   02/19/2019    2   P   901         0.35   30.45   DOCUMENT REPRODUCTION      319
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 03/01/2019
      1500.0003 03/01/2019      2   P   901         0.35    39.2   DOCUMENT REPRODUCTION      320
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 04/11/2019
      1500.0003 04/11/2019      2   P   901         0.35   50.75   DOCUMENT REPRODUCTION      322
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 04/19/2019
      1500.0003 04/19/2019      2   P    5                   3.2   PACER SERVICE CENTER       323
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      1500.0003 05/31/2019      2   P   901         0.35     14    DOCUMENT REPRODUCTION      335
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 07/06/2019
      1500.0003 07/06/2019      2   P   901         0.35    60.2   DOCUMENT REPRODUCTION      336
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 07/17/2019
      1500.0003 07/17/2019      2   P   901         0.35    2.45   DOCUMENT REPRODUCTION      337
                                                                   SAGET et al v. TRUMP
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Transaction Date 07/27/2019
      1500.0003 07/27/2019      2   P   901         0.35   25.55   DOCUMENT REPRODUCTION      338
                                                                   SAGET et al v. TRUMP
                                                                   TPS FEDERAL LITIGATION
Transaction Date 07/30/2019
      1500.0003 07/30/2019      2   P    5                  11.6   PACER SERVICE CENTER       324
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      1500.0003   08/05/2019   2   P   901         0.35    5.25   DOCUMENT REPRODUCTION       339
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 08/07/2019
      1500.0003 08/07/2019     2   P   901         0.35    40.6   DOCUMENT REPRODUCTION       340
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 08/20/2019
      1500.0003 08/20/2019     2   P   901         0.35   15.75   DOCUMENT REPRODUCTION       341
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 09/19/2019
      1500.0003 09/19/2019     2   P   901         0.35   74.55   DOCUMENT REPRODUCTION       342
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 10/07/2019
      1500.0003 10/07/2019     2   P   901         0.35     6.3   DOCUMENT REPRODUCTION       343
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 10/22/2019
      1500.0003 10/22/2019     2   P   901         0.35   15.75   DOCUMENT REPRODUCTION       344
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Transaction Date 10/31/2019
      1500.0003 10/31/2019     2   P    5                   2.2   PACER SERVICE CENTER        345
                                                                  SAGET et al v. TRUMP
                                                                  TPS FEDERAL LITIGATION
Transaction Date 11/29/2019
      1500.0003 11/29/2019     2   P    5                  820    THOMSON REUTERS - WESTLAW   346
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Transaction Date 12/31/2019
      1500.0003 12/31/2019     2   P    5                   2.2   PACER SERVICE CENTER        348
                                                                  SAGET et al v. TRUMP
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Transaction Date 01/09/2020
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      1500.0003 01/21/2020    2   P   901          0.35      11.2   DOCUMENT REPRODUCTION         349
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Transaction Date 01/30/2020
      1500.0003 01/30/2020    2   P    5                     293    THOMSON REUTERS - WESTLAW     350
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      1500.0003 05/31/2020    2   P   10                      86    THOMSON REUTERS - WESTLAW     354
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Transaction Date 06/24/2021
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Transaction Date 06/30/2021
      1500.0003 06/30/2021    2   P    5                     932    THOMSON REUTERS - WESTLAW     353
                                                                    SAGET et al v. TRUMP
                                                                    TPS FEDERAL LITIGATION
Transaction Date 07/31/2021
      1500.0003 07/31/2021    2   P   10                     224    THOMSON REUTERS - WESTLAW     355
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                                                          GRAND TOTALS

                                               Billable   12517.7
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    Date                Description           Cost/page    Total
11/05/2017   DOCUMENT REPRODUCTION                 0.35         8.75
11/05/2017   DOCUMENT REPRODUCTION                 0.35         15.4
11/06/2017   DOCUMENT REPRODUCTION                 0.35         8.75
11/06/2017   DOCUMENT REPRODUCTION                 0.35          2.8
11/08/2017   DOCUMENT REPRODUCTION                 0.35          2.8
11/08/2017   DOCUMENT REPRODUCTION                 0.35          2.8
11/08/2017   DOCUMENT REPRODUCTION                 0.35         7.35
11/08/2017   DOCUMENT REPRODUCTION                 0.35         18.9
11/13/2017   DOCUMENT REPRODUCTION                 0.35        18.55
11/13/2017   DOCUMENT REPRODUCTION                 0.35          3.5
11/13/2017   DOCUMENT REPRODUCTION                 0.35         3.15
11/13/2017   DOCUMENT REPRODUCTION                 0.35         11.2
11/14/2017   DOCUMENT REPRODUCTION                 0.35        45.85
11/14/2017   DOCUMENT REPRODUCTION                 0.35         8.75
11/14/2017   DOCUMENT REPRODUCTION                 0.35         15.4
11/14/2017   DOCUMENT REPRODUCTION                 0.35         16.8
11/15/2017   DOCUMENT REPRODUCTION                 0.35         7.35
11/15/2017   DOCUMENT REPRODUCTION                 0.35        15.75
11/19/2017   DOCUMENT REPRODUCTION                 0.35          6.3
11/19/2017   DOCUMENT REPRODUCTION                 0.35         5.25
11/19/2017   DOCUMENT REPRODUCTION                 0.35         5.25
11/19/2017   DOCUMENT REPRODUCTION                 0.35         8.75
11/20/2017   DOCUMENT REPRODUCTION                 0.35         5.25
11/20/2017   DOCUMENT REPRODUCTION                 0.35         5.25
11/20/2017   DOCUMENT REPRODUCTION                 0.35         5.25
12/14/2017   DOCUMENT REPRODUCTION                 0.35        14.35
12/14/2017   DOCUMENT REPRODUCTION                 0.35         3.15
12/14/2017   DOCUMENT REPRODUCTION                 0.35          2.8
12/18/2017   DOCUMENT REPRODUCTION                 0.35          9.8
12/20/2017   DOCUMENT REPRODUCTION                 0.35          9.8
12/20/2017   DOCUMENT REPRODUCTION                 0.35         16.8
12/20/2017   DOCUMENT REPRODUCTION                 0.35         18.9
01/16/2018   DOCUMENT REPRODUCTION                 0.35         16.8
01/17/2018   DOCUMENT REPRODUCTION                 0.35          9.1
01/17/2018   DOCUMENT REPRODUCTION                 0.35         4.55
01/17/2018   DOCUMENT REPRODUCTION                 0.35          5.6
01/17/2018   DOCUMENT REPRODUCTION                 0.35          5.6
01/17/2018   DOCUMENT REPRODUCTION                 0.35          4.9
01/18/2018   DOCUMENT REPRODUCTION                 0.35        27.65
01/19/2018   DOCUMENT REPRODUCTION                 0.35         8.05
01/26/2018   DOCUMENT REPRODUCTION                 0.35         1.05
01/26/2018   DOCUMENT REPRODUCTION                 0.35         3.85
01/26/2018   DOCUMENT REPRODUCTION                 0.35         3.15
01/29/2018   DOCUMENT REPRODUCTION                 0.35        12.95
01/29/2018   DOCUMENT REPRODUCTION                 0.35         8.75
02/26/2018   DOCUMENT REPRODUCTION                 0.35          0.7
02/26/2018   DOCUMENT REPRODUCTION                 0.35          1.4
02/26/2018   DOCUMENT REPRODUCTION                 0.35        11.55
03/15/2018   DOCUMENT REPRODUCTION                 0.35        11.55
03/15/2018   DOCUMENT REPRODUCTION                 0.35          2.8
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03/15/2018   DOCUMENT REPRODUCTION                     0.35         2.1
03/15/2018   DOCUMENT REPRODUCTION                     0.35       11.55
03/15/2018   DOCUMENT REPRODUCTION                     0.35         2.8
03/15/2018   DOCUMENT REPRODUCTION                     0.35         2.1
03/15/2018   DOCUMENT REPRODUCTION                     0.35         1.4
03/15/2018   DOCUMENT REPRODUCTION                     0.35         2.8
03/15/2018   DOCUMENT REPRODUCTION                     0.35         2.8
03/16/2018   KEVIN GREGG - REIMBURSE CERT. OF GOOD STANDING FEE   25.56
03/16/2018   DOCUMENT REPRODUCTION                     0.35        2.45
03/16/2018   DOCUMENT REPRODUCTION                     0.35       80.85
03/16/2018   DOCUMENT REPRODUCTION                     0.35        19.6
03/16/2018   DOCUMENT REPRODUCTION                     0.35        14.7
03/16/2018   POSTAGE                                   6.67       33.35
03/27/2018   DOCUMENT REPRODUCTION                     0.35        5.25
04/09/2018   ONE SOURCE PROCESS, INC                                 75
04/13/2018   AMERICAN EXPRESS - FILING FEES                        550
04/30/2018   ONE SOURCE PROCESS, INC.                              175
05/03/2018   DOCUMENT REPRODUCTION                     0.35         6.3
05/03/2018   DOCUMENT REPRODUCTION                     0.35         0.7
05/03/2018   DOCUMENT REPRODUCTION                     0.35        1.75
05/03/2018   DOCUMENT REPRODUCTION                     0.35         9.1
05/09/2018   DOCUMENT REPRODUCTION                     0.35       28.35
05/10/2018   DOCUMENT REPRODUCTION                     0.35       28.35
05/10/2018   DOCUMENT REPRODUCTION                     0.35        12.6
05/10/2018   DOCUMENT REPRODUCTION                     0.35        12.6
05/10/2018   DOCUMENT REPRODUCTION                     0.35        11.9
05/14/2018   DOCUMENT REPRODUCTION                     0.35       11.55
05/30/2018   PACER SERVICE CENTER                                  24.7
06/01/2018   DOCUMENT REPRODUCTION                     0.35       15.75
06/01/2018   DOCUMENT REPRODUCTION                     0.35         2.1
06/01/2018   DOCUMENT REPRODUCTION                     0.35         2.8
06/01/2018   DOCUMENT REPRODUCTION                     0.35        1.75
06/01/2018   DOCUMENT REPRODUCTION                     0.35       35.35
06/01/2018   DOCUMENT REPRODUCTION                     0.35         2.1
06/01/2018   DOCUMENT REPRODUCTION                     0.35         6.3
06/01/2018   DOCUMENT REPRODUCTION                     0.35        3.15
06/01/2018   DOCUMENT REPRODUCTION                     0.35        1.75
06/01/2018   DOCUMENT REPRODUCTION                     0.35         9.8
06/01/2018   DOCUMENT REPRODUCTION                     0.35       11.55
06/04/2018   DOCUMENT REPRODUCTION                     0.35       15.75
06/04/2018   DOCUMENT REPRODUCTION                     0.35         2.1
06/04/2018   DOCUMENT REPRODUCTION                     0.35         2.8
06/04/2018   DOCUMENT REPRODUCTION                     0.35        1.75
06/04/2018   DOCUMENT REPRODUCTION                     0.35       35.35
06/04/2018   DOCUMENT REPRODUCTION                     0.35         2.1
06/04/2018   DOCUMENT REPRODUCTION                     0.35         6.3
06/04/2018   DOCUMENT REPRODUCTION                     0.35        3.15
06/04/2018   DOCUMENT REPRODUCTION                     0.35        1.75
06/04/2018   DOCUMENT REPRODUCTION                     0.35         9.8
06/04/2018   DOCUMENT REPRODUCTION                     0.35       11.55
06/11/2018   FEDEX                                                17.98
06/11/2018   FEDEX                                                17.98
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06/11/2018   FEDEX                                             37.96
06/22/2018   DOCUMENT REPRODUCTION                 0.35        15.75
07/12/2018   DOCUMENT REPRODUCTION                 0.35        69.65
07/26/2018   PACER SERVICE CENTER                               26.7
08/07/2018   DOCUMENT REPRODUCTION                 0.35        19.95
08/10/2018   DOCUMENT REPRODUCTION                 0.35        13.65
08/16/2018   DOCUMENT REPRODUCTION                 0.35        10.15
08/16/2018   DOCUMENT REPRODUCTION                 0.35         5.95
08/16/2018   DOCUMENT REPRODUCTION                 0.35        10.85
08/16/2018   DOCUMENT REPRODUCTION                 0.35         1.75
08/16/2018   DOCUMENT REPRODUCTION                 0.35         3.15
08/16/2018   DOCUMENT REPRODUCTION                 0.35         5.95
08/16/2018   DOCUMENT REPRODUCTION                 0.35         5.95
10/10/2018   DOCUMENT REPRODUCTION                 0.35         7.35
10/10/2018   DOCUMENT REPRODUCTION                 0.35           28
10/10/2018   DOCUMENT REPRODUCTION                 0.35         3.15
10/10/2018   DOCUMENT REPRODUCTION                 0.35         1.75
10/10/2018   DOCUMENT REPRODUCTION                 0.35         1.75
10/10/2018   DOCUMENT REPRODUCTION                 0.35         3.85
10/10/2018   DOCUMENT REPRODUCTION                 0.35         5.95
10/10/2018   DOCUMENT REPRODUCTION                 0.35         2.45
10/10/2018   DOCUMENT REPRODUCTION                 0.35          2.8
10/10/2018   DOCUMENT REPRODUCTION                 0.35          2.8
10/10/2018   DOCUMENT REPRODUCTION                 0.35         6.65
10/10/2018   DOCUMENT REPRODUCTION                 0.35          2.8
10/10/2018   DOCUMENT REPRODUCTION                 0.35         4.55
10/10/2018   DOCUMENT REPRODUCTION                 0.35         30.1
10/10/2018   DOCUMENT REPRODUCTION                 0.35          3.5
10/10/2018   DOCUMENT REPRODUCTION                 0.35         5.25
10/10/2018   DOCUMENT REPRODUCTION                 0.35         35.7
10/10/2018   DOCUMENT REPRODUCTION                 0.35          2.1
10/10/2018   DOCUMENT REPRODUCTION                 0.35        15.05
10/10/2018   DOCUMENT REPRODUCTION                 0.35         1.75
10/10/2018   DOCUMENT REPRODUCTION                 0.35         1.75
10/10/2018   DOCUMENT REPRODUCTION                 0.35          2.1
10/10/2018   DOCUMENT REPRODUCTION                 0.35         5.25
10/10/2018   DOCUMENT REPRODUCTION                 0.35            7
10/10/2018   DOCUMENT REPRODUCTION                 0.35        15.75
10/10/2018   DOCUMENT REPRODUCTION                 0.35        15.75
10/10/2018   DOCUMENT REPRODUCTION                 0.35          2.1
10/10/2018   DOCUMENT REPRODUCTION                 0.35         3.85
10/10/2018   DOCUMENT REPRODUCTION                 0.35        15.05
10/10/2018   DOCUMENT REPRODUCTION                 0.35         20.3
10/10/2018   DOCUMENT REPRODUCTION                 0.35         13.3
10/10/2018   DOCUMENT REPRODUCTION                 0.35        13.65
10/30/2018   PACER SERVICE CENTER                                 10
11/19/2018   DOCUMENT REPRODUCTION                 0.35        11.55
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.8
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35         2.45
11/19/2018   DOCUMENT REPRODUCTION                 0.35        15.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
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11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.8
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35        35.35
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35          6.3
11/19/2018   DOCUMENT REPRODUCTION                 0.35        11.55
11/19/2018   DOCUMENT REPRODUCTION                 0.35          9.8
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35         3.15
11/19/2018   DOCUMENT REPRODUCTION                 0.35        13.65
11/19/2018   DOCUMENT REPRODUCTION                 0.35           28
11/19/2018   DOCUMENT REPRODUCTION                 0.35         3.15
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35         3.85
11/19/2018   DOCUMENT REPRODUCTION                 0.35         5.95
11/19/2018   DOCUMENT REPRODUCTION                 0.35         2.45
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.8
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.8
11/19/2018   DOCUMENT REPRODUCTION                 0.35         6.65
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.8
11/19/2018   DOCUMENT REPRODUCTION                 0.35         4.55
11/19/2018   DOCUMENT REPRODUCTION                 0.35         30.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35          3.5
11/19/2018   DOCUMENT REPRODUCTION                 0.35         5.25
11/19/2018   DOCUMENT REPRODUCTION                 0.35         35.7
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35        15.05
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35         5.25
11/19/2018   DOCUMENT REPRODUCTION                 0.35            7
11/19/2018   DOCUMENT REPRODUCTION                 0.35        15.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35        15.75
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35         3.85
11/19/2018   DOCUMENT REPRODUCTION                 0.35        15.05
11/19/2018   DOCUMENT REPRODUCTION                 0.35         20.3
11/19/2018   DOCUMENT REPRODUCTION                 0.35         13.3
11/19/2018   DOCUMENT REPRODUCTION                 0.35         7.35
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35          3.5
11/19/2018   DOCUMENT REPRODUCTION                 0.35          2.1
11/19/2018   DOCUMENT REPRODUCTION                 0.35         1.75
11/20/2018   DOCUMENT REPRODUCTION                 0.35        31.15
11/20/2018   DOCUMENT REPRODUCTION                 0.35          4.2
12/04/2018   DOCUMENT REPRODUCTION                 0.35         4.55
12/04/2018   DOCUMENT REPRODUCTION                 0.35         2.45
12/04/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/05/2018   DOCUMENT REPRODUCTION                 0.35         5.25
12/06/2018   DOCUMENT REPRODUCTION                 0.35         16.8
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12/06/2018   DOCUMENT REPRODUCTION                 0.35          7.7
12/06/2018   DOCUMENT REPRODUCTION                 0.35          6.3
12/06/2018   DOCUMENT REPRODUCTION                 0.35          8.4
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/06/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/06/2018   DOCUMENT REPRODUCTION                 0.35         30.8
12/06/2018   DOCUMENT REPRODUCTION                 0.35        52.85
12/06/2018   DOCUMENT REPRODUCTION                 0.35        70.35
12/06/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/06/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/06/2018   DOCUMENT REPRODUCTION                 0.35          5.6
12/06/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.05
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/06/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/06/2018   DOCUMENT REPRODUCTION                 0.35         2.45
12/06/2018   DOCUMENT REPRODUCTION                 0.35          4.2
12/06/2018   DOCUMENT REPRODUCTION                 0.35          1.4
12/06/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.05
12/06/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/07/2018   DOCUMENT REPRODUCTION                 0.35          1.4
12/07/2018   DOCUMENT REPRODUCTION                 0.35          1.4
12/07/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/07/2018   DOCUMENT REPRODUCTION                 0.35         1.05
12/09/2018   DOCUMENT REPRODUCTION                 0.35         7.35
12/09/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/10/2018   DOCUMENT REPRODUCTION                 0.35          4.9
12/10/2018   DOCUMENT REPRODUCTION                 0.35          5.6
12/10/2018   DOCUMENT REPRODUCTION                 0.35         5.25
12/10/2018   DOCUMENT REPRODUCTION                 0.35          2.8
12/10/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/10/2018   DOCUMENT REPRODUCTION                 0.35         1.75
12/10/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/14/2018   DOCUMENT REPRODUCTION                 0.35         6.65
12/14/2018   DOCUMENT REPRODUCTION                 0.35         9.45
12/14/2018   DOCUMENT REPRODUCTION                 0.35         3.85
12/14/2018   DOCUMENT REPRODUCTION                 0.35         3.85
12/14/2018   DOCUMENT REPRODUCTION                 0.35       101.85
12/19/2018   BUSINESS TRAVEL EXPENSE                            750
12/26/2018   DOCUMENT REPRODUCTION                 0.35         2.45
12/26/2018   DOCUMENT REPRODUCTION                 0.35        15.75
12/26/2018   DOCUMENT REPRODUCTION                 0.35         10.5
12/26/2018   DOCUMENT REPRODUCTION                 0.35         12.6
12/26/2018   DOCUMENT REPRODUCTION                 0.35       169.05
12/26/2018   DOCUMENT REPRODUCTION                 0.35          4.9
12/26/2018   DOCUMENT REPRODUCTION                 0.35          2.1
12/27/2018   DOCUMENT REPRODUCTION                 0.35        13.65
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12/27/2018   DOCUMENT REPRODUCTION                     0.35     3.15
12/27/2018   DOCUMENT REPRODUCTION                     0.35     3.15
12/27/2018   DOCUMENT REPRODUCTION                     0.35       28
12/27/2018   DOCUMENT REPRODUCTION                     0.35     41.3
12/27/2018   DOCUMENT REPRODUCTION                     0.35     7.35
12/27/2018   DOCUMENT REPRODUCTION                     0.35     18.9
12/27/2018   DOCUMENT REPRODUCTION                     0.35      8.4
12/27/2018   DOCUMENT REPRODUCTION                     0.35      4.2
12/28/2018   AMERICAN EXPRESS - BUSINESS TRAVEL EXPENSE        275.2
01/02/2019   DOCUMENT REPRODUCTION                     0.35     57.4
01/02/2019   DOCUMENT REPRODUCTION                     0.35    19.25
01/02/2019   DOCUMENT REPRODUCTION                     0.35     3.85
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35     3.85
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35      2.1
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35     8.05
01/02/2019   DOCUMENT REPRODUCTION                     0.35      2.8
01/02/2019   DOCUMENT REPRODUCTION                     0.35      0.7
01/02/2019   DOCUMENT REPRODUCTION                     0.35     1.75
01/02/2019   DOCUMENT REPRODUCTION                     0.35      4.9
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35     57.4
01/02/2019   DOCUMENT REPRODUCTION                     0.35    19.25
01/02/2019   DOCUMENT REPRODUCTION                     0.35     3.85
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35      2.1
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35     8.05
01/02/2019   DOCUMENT REPRODUCTION                     0.35      2.8
01/02/2019   DOCUMENT REPRODUCTION                     0.35      0.7
01/02/2019   DOCUMENT REPRODUCTION                     0.35     1.75
01/02/2019   DOCUMENT REPRODUCTION                     0.35      4.9
01/02/2019   DOCUMENT REPRODUCTION                     0.35     0.35
01/02/2019   DOCUMENT REPRODUCTION                     0.35     4.55
01/03/2019   DOCUMENT REPRODUCTION                     0.35      2.1
01/03/2019   DOCUMENT REPRODUCTION                     0.35      2.8
01/03/2019   DOCUMENT REPRODUCTION                     0.35      2.8
01/03/2019   DOCUMENT REPRODUCTION                     0.35    50.75
01/04/2019   DOCUMENT REPRODUCTION                     0.35    15.75
01/04/2019   DOCUMENT REPRODUCTION                     0.35     15.4
01/04/2019   DOCUMENT REPRODUCTION                     0.35     36.4
01/04/2019   DOCUMENT REPRODUCTION                     0.35    50.75
01/04/2019   DOCUMENT REPRODUCTION                     0.35     8.05
01/14/2019   DOCUMENT REPRODUCTION                     0.35     6.65
01/18/2019   FEDEX                                             29.04
01/18/2019   FEDEX                                             33.27
01/18/2019   FEDEX                                            132.17
01/18/2019   FEDEX                                             76.72
01/18/2019   FEDEX                                             14.14
01/22/2019   DOCUMENT REPRODUCTION                     0.35        7
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01/28/2019   KEVIN GREGG - REIMBURSE TRAVEL COSTS FOR TRIAL     1457.95
01/29/2019   UNITED REPORTING, INC.                               904.9
01/31/2019   PACER SERVICE CENTER                                     7
01/31/2019   FEDEX                                                19.91
01/31/2019   FEDEX                                                38.29
02/15/2019   DOCUMENT REPRODUCTION                     0.35       30.45
02/15/2019   DOCUMENT REPRODUCTION                     0.35       45.15
02/17/2019   AMERICAN EXPRESS - BUSINESS TRAVEL EXPENSE          1592.2
02/19/2019   DOCUMENT REPRODUCTION                     0.35        2.45
02/19/2019   DOCUMENT REPRODUCTION                     0.35       30.45
03/01/2019   DOCUMENT REPRODUCTION                     0.35        39.2
04/11/2019   DOCUMENT REPRODUCTION                     0.35       50.75
04/19/2019   PACER SERVICE CENTER                                   3.2
05/31/2019   DOCUMENT REPRODUCTION                     0.35          14
07/06/2019   DOCUMENT REPRODUCTION                     0.35        60.2
07/17/2019   DOCUMENT REPRODUCTION                     0.35        2.45
07/27/2019   DOCUMENT REPRODUCTION                     0.35       25.55
07/30/2019   PACER SERVICE CENTER                                  11.6
08/05/2019   DOCUMENT REPRODUCTION                     0.35        5.25
08/07/2019   DOCUMENT REPRODUCTION                     0.35        40.6
08/20/2019   DOCUMENT REPRODUCTION                     0.35       15.75
09/19/2019   DOCUMENT REPRODUCTION                     0.35       74.55
10/07/2019   DOCUMENT REPRODUCTION                     0.35         6.3
10/22/2019   DOCUMENT REPRODUCTION                     0.35       15.75
10/31/2019   PACER SERVICE CENTER                                   2.2
11/29/2019   THOMSON REUTERS - WESTLAW                             820
12/31/2019   PACER SERVICE CENTER                                   2.2
01/09/2020   DOCUMENT REPRODUCTION                     0.35        16.8
01/21/2020   DOCUMENT REPRODUCTION                     0.35        11.2
01/30/2020   THOMSON REUTERS - WESTLAW                             293
05/31/2020   THOMSON REUTERS - WESTLAW                               86
06/24/2021   ARIEL WOLFENSON RIVAS - LEGAL OPINION                 350
06/30/2021   THOMSON REUTERS - WESTLAW                             932
07/31/2021   THOMSON REUTERS - WESTLAW                             224

                                                 TOTAL        $12,517.72
